                                    Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 1 of 53




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                              Fax: (510) 834-1928
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                            5    Attorneys for Susan L. Uecker, Receiver

                            6

                            7                                 LINITED STATES DISTRICT COURT

                            8                               NORTHERN DISTRICT OF CALIFORNIA

                            9                                    SAN FRANCISCO DIVISION

                        10

                                 SECURITIES AND EXCHANGE                       Case   No.   3   :   17-CV-00223-RS
                        11
                                 COMMISSION,
(!
J
J                       I2                     Plaintiff,
Ës
OLo
                        13
ø13                                     VS
iñ;
!;E
c0gã                        l4 SAN FRANCISCO REGIONAL CENTER, LLC;
c !ã
øó
o Yo                           THOMAS M. HENDERSON; CALIFORNIA
o_! -                       15                                                 STANDARDIZF.D FUND ACCOUNTING
d:E                            GOLD MEDAL, L.P.; CALLSOCKET, L.P.;
oJo
E
                               CALLSOCKET II, L.P.; CALLSOCKET III'            REPORT FOR CONSOLIDATED SEC VS.
                            T6                                                 SFRC RECEIVERSHIP ENTITIES FOR
c
 c)                            L.P.; COMPREHENSIVE CARE OF
3                              OAKLAND, L.P.; NA3PL, L.P.; WEST                REPORTING PERIOD: APRIL 1,2017
                            t7 OAKLAND PLAZA, L.P.; CALLSOCKET,                TO JUNE 30,2017
                               LLC; CALLSOCKET II, LLC; CALLSOCKET
                            18
                               ilI, LLC; COMPREHENSIVE CARE OF
                               CALIFORNIA, LLC; IMMEDIA, LLC; ANd
                            I9 NORTH    AMERICA 3PL, LLC,
                        20
                                                Defendants,
                        2l                      -and-
                            22
                                 CALLSOCKET HOLDING COMPANY, LLC;
                                 CALLSOCKET III HOLDING COMPANY,
                            23
                                 LLC; BERKELEY HEALTHCARE
                                 DYNAMICS, LLC; CENTRAL CALIFORNIA
                            24
                                 FARMS, LLC; ANd JL GATEV/AY, LLC,
                            25
                                                Relief Defendants.
                            26

                            27

                            28


 009589.0024\4790542.   I
                                 STANDARDIZED FLIND ACCOUNTING REPORT                                                3:   l7-CV-O0223-RS
                 Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 2 of 53
               STANDARDIZED FUND ACCOUNTING REPORT for Consolidated SEC vs. SFRC Receivership Entities-Cash Basis
               Receivership Civil Court Case No. 3:17-cv-00223-RS
                         Period       1 to June    2017

FUND ACCOUNTING (See           lnstructions):
                                                                                                                                         Rêference
Line I         Beginning Balance (As of March 3'|-,20171                                                                          0.00

               lncreases Ín Fund Balance:
Llne 2         Business lncome                                                          1,872,684.96      1,872,684,96
Line 3         Cash (Transfer from Statê to Federal Receiver)                          44,923,187.05     44,923,187.O5                       1

Line   4       lnteresUDlvidend lncome                                                     I 5,932.1 0       15,932.10
Linê   5       Business Asset Llquidation
Line   6       Personal Asset Liquidation
Line   7       Thlrd-Party Litigat¡on I ncome
Llne   8       Miscellaneous - Other                                                      447,594.96        447,594.96
                 Total Funds Availabls (Llnes I              -   8):                   47,259,399.07     47,259,399.07   47,259,399.07

               Decreases in Fund Balance:
Line I         Disbursements to lnvostors
Line l0        D¡sbu]1sements for Receivership Operations
L¡ne 10a       Disbursements to Rece¡ver or Other Professíonals
Line 10b       Bus¡hess Assef Expenses                                                  2,955,092.43      2,955,092.43
Line 10c       Personal Assef Expenses
L¡ne 10d       lnvestment Expenses
Line 10e       Th¡rd-Pa¡ty L¡tigat¡on Expenses
                   1. Attorney Fees
                   2. Lit¡gation Expenses


L¡ne 10f       Tax Administrator Fees and Bonds
L¡ne 109       Federal and Sfafe Tax Payments
                Total Disbursements for
Èlne I     I   Disbursements for Distribution Expenses Paid by the Fund:
Line 11a           D¡stribut¡on Plan Developmenf Expenses.'
                    1. Fees:
                          Fund Administrator... ... ... ... ... .....
                          lndependent Distribution Consultant (lDC)......
                         Distribution Agent... ... ... ... ...
                         Consultants... ... .
                         Legal Advisers...
                         Tax Advisers...... ... ... ... .
                    2. Adm¡nistrative Expenses
                    3. Miscellaneous
                   Total Plan

Line 11b           Distribution Plan lmplementation Expenses:
                    1. Fees:
                         Fund Administrator... ... ... ... ... ........... .....
                         tDc.. . ... ... ... ... ...
                         Distribution Agent... ... ... ... ...
                         Consultants.......
                         Legal Advisers...
                         Tax Advisers... ..
                    2. Administrat¡ve Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved P|an.......................
                         Claimant ldentification......
                         Claims ProcessinS.....................
                         Web Site Maintenance/Call Center.....................
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for lnvestor Restitution (FAIR)
                    Reporting Expenses



Line 12        Disbursements to Court/Other:
Line 12a          I nve stme nt Expe n se s/Co u rt Registry I nve stme nt

               Sysfem ICRIÐ Fees
L¡ne 12b           Federal Tax Payments
                Total Disbursements to CourUother:                                         38,550.00        38,550.00                        2
                Total Funds Dlsbursed (Lines 9- 11):                                       38,550.00        38,550.00     2,993,642.43
Line   l3      Ending Balance (As ofJune 30,20171:                                                                       l1¿9!¿99.9f_
                    ng     nce
Line 14a           Cash 8 Cash Equivalents                                             44,265,756.64     44,265,756.64
                                                                                   1                                                             7   /30/08
                  Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 3 of 53
       14b          lnvestments
       14c        OfherAssefs or uncteared runài
                 Total Ending Balancê of Fund - Net Assets                                          44,265,756.64          44,265,756.64   44,265,756.64


            SUPPLEMENTAL INFORMATION:
                                                                                                          Dêtall                           Grand Total
                       of ítems NOT To Be Paid by the Fund:
Line   l5       Dlsbursements for Plan Administratlon Expenses Not Pald by the Fund:
Line 15a           Plan Development Expenses Not Paid by the Fund:
                    1. Fees:
                          Fund Adm¡n¡strator....................
                          tDc..................
                          Distribution Agent... ... ... ... ...
                         Consultants.......
                         Legal Advisers...
                         Tax Advisers... ..
                    2. Administrative Expenses
                    3. M¡scellaneous
                   Total PIan

Line 15b           Plan Implementation Expenses Not Paid by the Fund:
                    1. Fees:
                          Fund Administrator... ... ... ... ... ... ..
                          tDc..................
                          Distribution Agent...............
                         Consultants.......
                         Legal Adv¡sers...
                         Tax Advisers... ..
                    2. Administrative Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved P|an...........................
                         Claimant ldentification......
                         Claims Processing.....................
                         Web Site Maintenance/Call Center... ... ... ...
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. FAIR Reporting Expenses
                        Plan                          Nof
Line 15c           Tax Administrator Fees & Bonds Not Paid by the Fund


Lino 16         Dlsbursements to CourUOther Not Pald by the Fund:
Line 16a           I nve stme nt Ex penses/CR/S Fees
Line 16b           Federal Tax Payments
                                                                                             Fund
Line 17         DC & State Tax

Line   l8       No. of Clalms:
Line 18a           # of Claims Received This             Re poñing       Period.................
Line 18b           # of Cla¡ms Rece¡ved Since lnception ol Fund...............
Line 19         No. of Glaimants/lnvestors:
Line 19a           # of Claimants/lnvestors Paid This Report¡ng Period.......
Line 19b           # of Claimants/lnvestors Pad Sihce lncept¡on of Fund....



       Ref
        #                                         Item                                                Amount           Correspondinq Notes
                          secu                                                                      44,923,187,05      I


                                                                                                                       the amount of $549,075 (CS LP), $1 5,746,1 80 CA
                                                                                                                       Gold Medal), $559,099 (NA3PL, and recorded on
                                                                                                                       the balance sheets provided.

       2        Tolal Disbursements to CourUOther                                                          33,550.00 lncludes transfers from Call Socket ll to Call
                                                                                                                                   ($20,000) and from Call Socket ll to CA
                                                                                                                                    ($1 8,550).




                                                                                                   Date
                                                                                                                                   +

                                                                                             2                                                                        7   /30/08
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 4 of 53
              STANDARDIZED FUND ACCOUNTING REPORT for Call Socket LP Receivership-Cash Basis
              Receivership Civil Court Case No. 3:17-cv-00223-RS
                        Period:      1 to June    20'17


FUND ACCOUNTING
                                                                                                    Deta¡l                       rand
Line'l        Beginning Balance (As of March 3'1,20171                                                                                  0.00

              lncreases in Fund Balance:
Line 2        Business lncome                                                                      282,444.00     282,444.00
Line 3        Cash and Securities                                                                  943,606.70     943,606.70
Line 4        lnteresUDividend lncome                                                                    87.25         87.25
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Third-Party Litigation lncome
Line   I      Miscellaneous - Other                                                                125,925.00      125,925.00
                Total Funds Avallable (Lines                      I    -            8):          I,352,062.95    1,352,062.95   I,352,062.95
              Decreases in Fund Balance:
Line 9        Disbursements to lnvestors
Line 10       Disbursements for Receivership Operations
Line 10a      D¡sbursements to Receiver or Other Professionals
Line 10b      Buslness Assef Expenses                                                              s76,983.30     576,983.30
Line 10c      Personal Assef Expenses
Line 10d      lnvestment Expenses
Line 10e      Thkd-Party Litigation Expenses
                  1. Attorney Fees
                  2, Litigation Expenses


Line 10f      Tax Administrator Fees and Bonds
Line 109      Federal and Sfafe lax Payments
               Total                                                                               576,983.30         983.30             30

Line   11     Disbursements for Distribution Expenses Paid by the Fund
Line 11a         Distribution Plan Development Expenses:
                  1. Fees:
                       Fund Administrator... ... . .. .. . ... . ..
                       lndependent Distribution Consultant (lDC)... ... ...               .


                       Distribution Agent... . .. . .. . .. ..
                       Consultants. .. .. .
                       Legal Adv¡sers..
                       Tax Advisers. .. .
                  2. Administrative Expenses
                  3. Miscellaneous
                 Total Plan

       11b       Distribution Plan lmplementation Expenses:
                  1. Fees:
                       Fund Adm¡nistrator... ...          .   .. ..   ..   ..   .   ..
                       tDc................
                       D¡str¡bution Agent...   .   ..   ... . .. ..
                       Consultants......
                       Legal Advisers..
                       Tax Advisers....
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                       Notice/Publishing Approved P14n......... ......
                       Clâimant ldentification.....
                       Claims Processin9..................
                       Web Site Maintenance/Call Center. .. .. . . .. ...,
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses

               Total                                                                          d bv the Fund

       12     Disbursements to CourUOther:
       12a       I nvestment Expenses/Court Registry I nvestment

              Sysfem (CR/S,) Fees
       12b       Federal Tax Payments
           Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 5 of 53

             Total Disbursements to CourUOther:
             Total Funds Disbursed (Lines 9 - 1 I ):                                                                               576,983.30
Line 13     nding Balance (As of June 30, 2017):
Line 14     Ending Balance of Fund - Net Assets:
Line 14a       Casñ & Cash Equivalents                                                                  775,079.65   775,079.65
Line 14b        lnvestments
Line 14c      OfherAssefs or Uncleared Funds
             Total Ending Balance of Fund - Net Assets                                                  775,079.65   775,079.65    775,079.65


OTHER SUPPLEMENTAL INFORMATION:
                                                                                                        Detaíl       Subtotal     Grand Total
            Repoft of ltems NOT To Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund
L¡ne 15a       Plan Development Expenses Not Paid by the Fund:
                    1. Fees:
                        Fund Adminishator... ...            .   .. ... ..   ..   ..
                        tDc................
                        Distribution Agent..     ..   .. ... ... ..
                        Consultants. .. . .
                        Legal Advisers..
                        Tax Advisers... .
                    2. Administrative Expenses
                3. Miscellaneous
                Total                                                                 Paid   the Fund

Line 15b       Plan lmplementation Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator... ... ... ... ...               .   ..
                         IDc................
                         Distribution Agent...    ..   ..   .. . ..   .

                         Consultants.. . . .
                         Legal Adv¡sers..
                         Tax Advisers.. . .
                    2. Administrative Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved Plan....
                         Claimant ldentif¡cation.....
                         Claims Processing.......................
                         Web Site Maintenance/Call Center.,
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
                    Plan
Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
             Total Disbursements for Plan
Line 16     Disbursements to CourUOther Not Paid by the Fund:
Line 16a        nvestment Expenses/CRIS Fees
                I

Line 16b        Federal Tax Payments
              Total Disbursements to CouruOther
Line 17     DC & State Tax

Line 18     No. of Claims:
Line 18a       # of Claims Received This Reporiing Period. .... . ... ... ...
Line 18b       # of Claims Received Since lnception of Fund...... . .... ..
Line 19     No. of Claimants/lnvestors:
Line 19a       # of Claimants/lnvesfors Paid This Repoñing Period.. ..
Line 19b       # of Claimants/lnvesfors Paid Since lnception of Fund.




                                                                                                    Date
                       Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 6 of 53
                                                     Call Socket LP
                                                Susan L. Uecker, Receiver
                                                     Balance Sheet
                                                      June30,2017

                                                           ASSETS

Current Assets
Checking - Boston Private            $        225,881.87
Escrow Mkt - Boston Private                   549,162.25
Checking - Boston Runway ExP                       35.53

Total Current Assets                                                  775,079.65

Property and Equipment

Total Property and Equipment                                                0.00

Other Assets
Receivable from Fed Rec                          7,200.00

Total Other Assets                                                      7,200.00

Total Assets                                                 $        782,279.65




                                              LIABILITIES AND CAPITAL

Current Liabilities
Funding from CS II                   $          20,000.00
Funding from CS III                          2,730,252.69
Runway Sale Deposit                            105,000.00
 Suspense-Clearing Account                      (3,453.49)

Total Current Liabilities                                           2,851,799.20

Long-Term Liabilities

Total Long-Term Liabilities                                                 0.00

 Total Liabilities                                                  2,851,799.20

Capital
Retained Earnings                           (2,025,005.07)
 Turnover Funds                                 43,356.01
 Turnover of Investor Funds                    549,075.00
 Net Income                                   (636,945.49)

 TotalCapital                                                       (2,069,519.55)

 Total Liabilities & Capital                                 $        782,279.65




                                         Unaudited - For Management Purposes Only
                   Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 7 of 53
                                                                                    Page:   I
                                                 Call Socket LP
                                            Susan L. Uecker, Receiver
                                                 Income Statement
                                           For the Second Quarter 2017

                                     Current Quarter
Revenues
Runway Rental Income             $      180,293.00
Runway Partnership Income                96,751.00
Runway Events                             5,400.00
Interest Income                               87.25

Total Revenues                          282,531.25



Expenses
Bank Charges-RW                               54.47
Court Reporter Expense                       728.30
Credit Card Fees - RW                         48.94
Employee Benefit-RW                         900.00
Equipment Rental-RW                         337.41
Events Expense-RW                          2,253.35
Insurance Expense                           (6et,4s)
Insurance Expense-RW                      1,458.04
Internet Expense-RW                       5,498.02
Janitorial Expenses-RW                   13,320.00
Marketing Expense-RW                      2,284.56
Meals and Entertainment Exp-RW            3,362.50
Payroll                                  65,961.56
Payroll-RW                              125,034.87
Payroll - Commissions-RW                  23,184.71
Employer Payroll Taxes                     5,139.54
Employer Payroll Taxes-RW                 10,921.52
Payroll Service Charges                      684.68
Insurance - Workers' Comp                    363.34
Insurance - Workers' Comp-RW               1,369.17
Operating Supplies-RV/                     4,849.90
Postage Expense                              167.38
Professional Fees-RW                      9,839.00
Refund- Deposits                          4,300.00
Runway Lease Expense                    275,400.40
Repairs Expense-RW                           28 I .13
Telephone Expense-RW                       2,135.47
Travel Expense-RW                             78.47
Telecommunications Expense-RW              7,064.53

Total Expenses                           566,329.81

Net Income                       $      (283,798.56)




                                          For Management Purposes Only
           Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 8 of 53
            STANDARDTZED FUND ACCOUNTING REPORT for Call Socket ll LP Receivership-Cash Basis
            Receivership Civil Court Case No. 3:1 7-cv-00223-RS
                 rti  Period      I 1 to June 30 2017

FUND ACCOUNTING (See         lnstructions):
                                                                                                       Subtotal
    ,l
            Beginning Balance (As of March 31,20171                                                                           0.00

            lncreases in Fund Balance:
    2       Business lncome                                                               11,030.00       11,030.00
    3       Cash and Securities                                                        8,8s2,403.42    8,852,403.42
    4       lnteresuDividend lncome                                                        4,305.64        4,305.64
Line 5      Business Asset Liquidation
Line 6      Personal Asset Liquidation
Line 7                  Litigation lncome
Line I      Miscellaneous - Other                                                          1,621.66        1,621.66
              Total Funds Available (Lines                        I   -   8):          8,869,360.72    8,869,360.72   8,869,360.72

            Decreases in Fund Balance:
Line 9      Disbursements to lnvestors
Line 10     Disbursements for Receivership Operations
Line 10a    Disbursements to Receiver or Other Professionals
Line 10b    Bus,ness Assef Expenses                                                     367,846.07      367,846.07
Line 10c    P e rson a I As set Expenses
Line 10d    lnvestment Expenses
Line 10e    Third-Pañy Litig ation Ex pe n se s
                1. Attorney Fees
                2. Litigation Expenses


     10f    Tax Administrator Fees and Bonds
    1og     Federal and State Tax Payments
              Total Disbursements for Receivershi                                       367       07    367            367      07

     11     Disbursements for Distribution Expenses Paid by the Fund:
     11a        Distriþution Plan Developmenf Expenses;
                 1. Fees:
                      Fund Admin¡strator... ... .. . ... ... ...
                      lndependent Distribution Consultant (lDC)
                      D¡stribut¡on 49ent............
                      Consultants.. . .. .
                      Legal Advisers..
                      Tax Advisers.. . .
                 2. Administrative Expenses
                 3. Miscellaneous
                      Plan
Line 11b        Distribution Plan lmplementation Expenses:
                 1. Fees:
                      Fund Administratorr.................
                      tDc................
                      Distribution Agent...   .. . ..   ..   ..   .


                      Consultants... ..
                      Legal Advisers..
                      Tax Advisers.. . .
                 2. Administrative Expenses
                 3. lnvestor ldentification:
                      Notice/Publishing Approved P|an...... .................
                      Claimant ldentification... ..
                      Claims Processing..................
                      Web Site Maintenance/Call Center............. ........
                4. Fund Administrator Bond
                5. Miscellaneous
                6. Federal Account for lnvestor Restitution
                 (FAIR) Reporting Expenses
                Total Plan
                                                                      bution    Paid   the Fund
     '12    Disbursements to CourUOther:
     12a        lnvestment Expenses/Court Registry lnvestment
            Sysfem (CR/S) Fees
     12þ       Federal Tax Payments
              Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 9 of 53

                 Total Disbursements to Court/Other:                                                               38,550.00      38,550.00    367,846.07
                 Total Funds Disbursed (Llnes 9 - l'l):                                                            38,550.00      38,550.00     38,550.00
       13       Ending Balance (As of June 30,20'l7l:.
        4
       14a                                                                                                       8,462,964.65   8,462,964.65
       14b
       14c
                                                                                                                 8,462,964.65   8,462,964.65


             SUPPLEMENTAL INFORMATION:
                                                                                                                  Detail
                Report of ltems NOf               Io   Be Paid by the Fund:
Line   l5       Disbursements for Plan Administration Expenses Not Paid by the Fund
       15a         Plan Development Expenses Not Paid by the Fund:
                    1. Fees:
                           Fund Administrator..             . .. . .. . .. .   .   .. ..   .


                           tDc..........,.....
                           Distribution Agent...        .   .. . .. . ..   .


                           Consultants......
                           Legal Advisers..
                          Tax Advisers..      .   .


                   2. Administrative Expenses
                   3. Miscellaneous
                   Total Plan                                                                  Paid   the Fund

Line 15b           PIan lmplementation Expenses Not Paid by the Fund:
                    1, Fees:
                           Fund Administrator. .. . .. . .. ...                ..   ..   ..
                           tDc................
                           Distribution 49ent.............
                           Consultants.. . ...
                           Legal Advisers..
                           Tax Advisers....
                    2. Admin¡strative Expenses
                    3.   lnvestor ldentification:
                           Notice/Publishing Approved Plan... ....................
                           Claimant ldentification....
                           Claims Processin9.................
                           Web Site Maintenance/Call Center.....................
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. FAIR Reporting Expenses
                                                       Not Paid    the Fund
       15c          Tax Adm¡nistrator Fees & Bonds Not Paid by the Fund
                         Disbursements for Plan Admi                                                             Not Paid
       16       Disbursements to CourUOther Not Paid by the Fund
       16a         I nve stment Expen se s/CR/S Fees

       16b         Federal Tax Payments
                                                            CourUOther Not Paid                         the Fund
       17       DC & State Tax

Line 18         No. of Claims:
       18a         # of Claims Received This Reporting Period.............
       18b         # of Claims Received Since lnception of Fund.. .... .. ...
Line 19         No. of Claimants/lnvestors :
       19a         # of Claimants/lnvesfors Paid This Reporting Period..
       19b         # of Claimants/lnvesfors Paid Since          of Fund.




                                                                                                           Date
                                                                                                                     7t>t/ tT
                       Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 10 of 53
                                                     Call Socket II LP
                                                 Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                       June 30,2017

                                                         ASSETS

Current Assets
Checking - Boston Private             $         52,950.99
Sale Proceeds-CB Building                      499,762.22
Sale Proceeds - Dufivin                      7,910,251.44

Total Current Assets                                                8,462,964.65

Property and Equipment

Total Property and EquiPment                                                 0.00


Other Assets
CS LP Funding Receivable                        20,000.00
CA Gold Medal Receivable                        18,550.00
Security Deposit-Dufrvin                        24,053.25
Deposits                                           410.50

Total Other Assets                                                     63,013.75

Total Assets                                                  $     8,525,978.40




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                    0.00

Long-Term Liabilities

 Total Long-Term Liabi lities                                                0.00

 Total Liabilities                                                           0.00

Capital
 Beginning Equity                     $       9,302,918.86
 Turnover Funds                                  30,512.39
 Net Income                                    (807,452.85)

 TotalCapital                                                        8,525,978.40

 Total Liabilities & Capital                                  $      8,525,978.40




                                          Unaudited - For Management Purposes Only
                    Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 11 of 53
                                                                                      Page:   I
                                                 Call Socket II LP
                                             Susan L. Uecker, Receiver
                                                  Income Statement
                                            For the Second Quarter 2017

                                      Current Quarter
Revenues
Interest Income                   $         4,305.64
CS  II Call Center Income                  I1,030.00
Refunds                                     1,621.66

Total Revenues                             16,957.30



Expenses
Bank Charges                                  145.31
CS II Consultant                         162,500.00
Insurance Expense                          5,284.13
Dialer Expense                            14,271.06
Payroll                                   83,628.51
Payroll Taxes                              6,868.94
Payroll Service Fees                         797.14
Workers Compensation Ins.                  1,492.50
Operating Expenses                         5,397.24
Postage Expense                                4.54
Expenses Pd by Eclipse-CB                    (511.s6)
Rent or Lease Expense                     72,159.75
Telephone Expense                         13,392.89
Utilities Expense                            276.35
Supplies Expense                             884,00
Wireless Expense                           1,255.27

Total Expenses                           367,846.07

Net Income                        $     (350,888.77)




                                           For Management Purposes Only
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 12 of 53

             STANDARDIZED FUND ACCOUNTING REPORT for Call Socket lll LP Receivership-Cash Basis
             Receivership Civ¡l Court Case No. 3:17-cv-00223-RS
                      Period        1 to June 30 2017


FUND ACCOUNTING (See lnstructlons):
                                                                                                 Subtotal       Grand Total
Llne   I     Beglnnlng Balance (As of March 31'20171                                                                    0 00

             lncreases in Fund Balance:
Linê   2         nêss lncome                                                          2,000.00       2,000.00
Line   3          and Sêcurities                                                  6,220,506.67   6,220,506.67
Line   4     nteresUDivldend lncome                                                   3,236.82       3,236.82
Llne   5     Buslness Asset Liquidatlon
Llne   6     PeÉonal Asset Liquidatlon
Line   7                Litigat¡on lncome
Line   I     Mlscellaneous - Sale Rsfund                                            300,000.00     300,000.00
              Total Funds Avallable (Llnes I             -   8):                  6,625,743.49   6,525,743.49   6,526,743.49

             Decreases in Fund Balance:
       9     D¡sbursemênts to lnvostors
       10    Disbursements for Receivership Operatlons
       10a   Disbursements to Receiver or Other Professionals
       10b   Buslness Assef Fxpenses
       10c   Personal,Assef Expenses
       10d   lnvestment Expenses
       10e   Thi rd-Party Litig ation Ex pen ses
                  1. Attorney Fees
                  2. Litigation Expenses
               Total

       10f   Tax Admin¡strator Fees and Bonds
       1og   Federal and State Tax Payments
                                            for
Llne   ll    Disbursements for Distributlon Expenses Paid by the Fund:
       11a       Distribution Plan Developmenf Expenses:
                       Fees:
                         Fund Admin¡strator....................
                         lndependent Distr¡bution Consultant (lDC)..........
                         Distribution Agent......................
                         Consultants... ... .
                         Legal Advisers...
                         Tax Advisers......
                  2. Administrative Expenses
                  3. Miscellaneous
                 Total

Line 11b         Distribution PIan I mplementation Expenses:
                  1. Fees:
                         Fund Administrator..............................
                         tDc...........
                         Distribution 49ent...............
                         Consultants... ... .
                         Legal Advisers...
                         Tax Advisers......
                  2. Administrative Expenses
                  3, lnvestor ldentification:
                         Notice/Publish¡ng Approved P|an.......................
                         Clâimant ldentification......
                         Cla¡ms ProcessinS....................,
                         Web Site Ma¡ntenance/Call Center... ... ...
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses



Line 12      DisbunBements to CouruOther:
       12a       lnvestment Expenses/CouÍ't Registry lnvestment
             Sysfem (CR/S) Fees
Line 12b         Federal Tax Payments
               Total Disbursements to Court/Other:
               Total Fund3 Dlsbunsed (Llnes 9 - 11):
Llne 13           ng Balance (As ofJunê 30,20171t                                                               _6,529Jß.ß
Llne 14           ng
Line 14a         Cash & Cash Equivalents                                          6,525,743.49   6,525,743.49
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 13 of 53

       14b      Investments
       14c     OfherAssefs or lJncleared Futntds
              Total Ending Balance of Fund - Net Assets                               6,525,743.49   6,525,743.49


OTHER SUPPLEMENTAL INFORMATION:
                                                                                                                    Grand Total
             Repoñ of ltems       ,vof fo Be       Paid   by the Fund:
Linê 15      Disbursemênts for Plan Administration Expenses Not Paid by the Fund:
Line 15a        PIan Developmenf Expenses Not Paid by the Fund:
                 1. Fees:
                       Fund Administrator..
                       tDc.....
                       Distr¡bution Agent.....
                       Consultants.............
                       Legal Advisers..............
                       Tax Advisers................
                 2. Administrative Expenses
                  3. Miscellaneous
                                                                       Paid     the

L¡ne 15b        Plan lmplementation Expenses Not Pa¡d by the Fund:
                  1. Fees:
                       Fund Admin¡strator... ... ... ... ... ............. ..
                       tDc.
                       Distribution 49ent...............................
                       Consultants... ... .
                       Legal Advisers...
                       Tax Advisers......
                  2. Administrat¡ve Expenses
                  3. lnvestor ldentlfication:
                       Notice/Publishing Approved P|an..........
                       Claimant ldentification......
                       Claims ProcessinS................................
                       Web Site Maintenance/Call Center...........
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses
                      Plan
L¡ne 15c         Tax Adm¡nistrator Fees & Bonds Not Paid by the Fund
                                                  Plan Ad

Llne l6      D¡sbursements to Couruothêr Not Paid by the Fund
Line 16a        I nvest m en t Expenses/CR/S Fees

Line 16b        Federal Tax Payments
                                                    Paid    the
Line 17      DC & State Tax

Llne l8      No, of Clalms:
Line 18a         # of Claims Received This Reporting Period..... ..........,
Line   18b      # of Claims Rece¡ved Since lnception of Fund.............
Line   19    No, of Glalmants/lnvestors:
Line   19a      # of Cla¡mants/lnvesfors Paid This Repofting Period.. ...
Line   19b      # of Claimants/lnvesfors Paid Since lncept¡on of Fund..                                ..r¿t
                      Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 14 of 53
                                                    Call Socket III LLC
                                                 Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                       June30,2017

                                                            ASSETS

Current Assets
Checking - Boston Private            $          22,216.99
Market Rate - Boston Private                 6,503,s26.s0

Total Curent Assets                                                  6,525,743.49

Property and Equipment

Total Property and Equipment                                                 0.00

Other Assets

Total Other Assets                                                           0.00

Total Assets                                                  $      6,525,743.49




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                    0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                  0.00

Total Liabilities                                                            0.00

Capital
Turnover Funds-General               $          11,220.38
Turnover Funds-Magnin                        9,184,044.00
Funding Per Court Order-CS                  (2,730,252.69)
Net Income                                       3,937.58

TotalCapital                                                         6,468,949.27

Total Liabilities & Capital                                   $      6,468,949.27




                                         Unaudited - For Management Purposes Only
                  Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 15 of 53
                                                                                    Page: I
                                              Call Socket III LLÇ
                                           Susan L. Uecker, Receiver
                                               Income Statement
                                          For the Second Quarter 2017

                                    Current Quarter
Revenues
Verizon Lease                   $         2,000.00
Interest Income                           3,236.82

Total Revenues                            5,236.82



Expenses

Total Expenses                                0.00

Net Income                      $         5,236.82




                                         For Management Purposes Only
           Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 16 of 53

             STANDARDIZED FUND ACCOUNTING REPORT for Call Socket Holding Receivership-Cash Basis
             Receivership Civil Court Case No. 3:17-cv-00223-RS
                       Period      I 1 to June   2017

         ACCOUNTING
                                                                                            Detail       Subtotal       Grand Total
 nel         Beginning Balance (As of March 31,20171                                                                             0.00
             lncreases in Fund Balance:
  ne2        Business lncome
  ne3        Cash and Securities                                                          9,67s,639.26   9,675,639.26
    4        lnteresUDividend lncome                                                          4,821.04       4,821.04
  ne 5       Business Asset Liquidation
     6       Personal Asset Liquidation
     7                   Litigation lncome
     I       Miscellaneous - Other
               Total Funds Available (Lines                        I     -   8):          9,680,460.30   9,680,460.30    9,680,460.30
             Decreases in Fund Balance:
  ne9        Disbursements to lnvestors
 ne 10       Disbursements for Receivership Operations
    10a      Disbursements to Receiver or Other Professionals
     10b     Buslness,Asset Expenses                                                            479.10        479.10
Line 10c                 Assef Expenses
     10d     lnvestment Expenses
Line 10e     Thi rd-P arty Litigation Ex pen se s
                  1. Attorney Fees
                  2. Litigation Expenses


    10f      Tax Administrafor Fees and Bonds
    1og      Federal and State Tax Payments
               Total Disbursements for                                                                        479.10          479.10

     11      Disbursements for Distribution Expenses Paid by the Fund:
    11a          Distribution PIan Development Expenses:
                  1. Fees:
                       Fund Admin¡strator
                       lndependent Distribution Consultant (lDC)
                       Distribution Agent. .. ... .. . , .. ..
                       Consultants. .. .. .
                       Legal Advisers..
                       Tax Advisers.. . .
                  2. Administrative Expenses
                  3. Miscellaneous


Line 1lb         Distribution Plan lmplementation Expenses:
                  1. Fees:
                       Fund Administrator.     ..   ... . .. ... .. . ..     .


                       tDc................
                       Distribution Agent...   .    .. ..   ..   .. ..
                       Consultants......
                       Legal Advisers..
                       Tax Advisers. .. .
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                       Notice/Publishing Approved P|an......... ............       ..
                       Cla¡mant ldentification... ..
                       Cla¡ms Processing..................
                       Web Site Maintenance/Call Center. , . .. . . .. .... ..
                  4. Fund Administrator Bond
                 5. Miscellaneous
                 6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses
                 Total Plan
               Total Disbursements for Distribution                                Paid     the Fund
Line 12      Disbursements to CourUOther:
Line 12a        lnvestment Expenses/Court Registry lnvestment
             Sysfem (CR/S) Fees
L¡ne 12b        Federal Tax Payments
           Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 17 of 53

             Total Disbursements to CourUOther:
             Total Funds Disbursed (Lines 9 - 1 1):                                                              479.14

Line 13     Ending Balance (As ofJune 30,2017):                                                             9,679,981.20
L¡ne 14     Ending Balance of Fund         -   Net Assets:
Line 14a       Cash & Cash Equivalents                                                                      9,679,981,20
Line 14b       lnvestments
Line 14c      OfherAssefs or Uncleared Funds
             Total Ending Balance of Fund - Net Assets                                                      9,679,981.20


OTHER SUPPLEMENTAL INFORMATION                   :




            Report of ltems NOT To Be Paid by the Fund:
Line l5     Disbursements for Plan Administration Expenses Not Paid by the Fund
Line 15a       Plan Developmenf Expenses Not Paid by the Fund:
                1. Fees
                     Fund Administrator
                     tDc.
                     Distribution Agent... ...   ..   .


                     Consultants......           .        .


                     Legal Advisers..
                     Tax Advisers. .. .
                2. Administrative Expenses
                3. Miscellaneous
                                                              Not Paid    the Fund

Line 15b       Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator
                     tDc
                     D¡stribution 49ent..............
                     Consultants. .. . ..
                     Legal Advisers..
                     Tax Advisers....
                2. Administrative Expenses
                3. lnvestor ldentification:
                     Notice/Publishing Approved Plan... ... .................
                     Claimant ldentifi cation.....
                     Claims Processin9....,.............
                     Web Site Maintenance/Call Center.....................
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses
                Total PIan
Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
             Total Disbursements
Line 16     D¡sbursements to Court/Other Not Paid by the Fund:
Line 16a                            Fees
               lnvestment Expenses/CRtS
Line 16b       Federal Tax    Payments                      I

                                                                                I

                    Disburcements to CouruOther Not
Line 17     DC & State Tax

Line 18     No. of Claims:
Line 18a       # of Claims Received This Reporting Period..............,
Line 18b       #of Claims Received Since lnception of Fund.......,.....
Line 19     No. of Claimants/lnvestors:
Line 19a       # of Claimants/lnvestors Paid This Repoñing Period ....
Line 19b       # of Claimants/lnvesfors Paid Since          of Fund.




                                                                                     usan L.     Receiver



                                                                                    Date
                                                                                               7t>rl *
                       Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 18 of 53
                                             Call Socket Holding Company LLC
                                                  Susan L. Uecker, Receiver
                                                       Balance Sheet
                                                       June 30, 2017

                                                          ASSETS

Current Assets
Checking - Boston Private             $           8,109.44
Trib Sale Proceeds - Boston                   9,671,871.76

Total Current Assets                                                   9,679,981.20

Property and Equipment

Total Property and Equipment                                                   0.00

Other Assets

Total Other Assets                                                             0.00

Total Assets                                                  $        9,679,981,20




                                               LIABILITIES AND CAPITAL

Curent Liabilities

Total Current Liabilities                                                      0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                    0.00

Total Liabilities                                                              0.00

Capital
Beginning Equity                      $       9,642,328.69
Turnover Funds                                   68,303.40
Net Income                                      (30,650.89)

Total Capital                                                          9,679,981.20

Total Liabilities & Capital                                   $        9,679,981.20




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                  Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 19 of 53
                                                                                    Page: I
                                       Call Socket Holding Company LLC
                                            Susan L. Uecker, Receiver
                                                Income Statement
                                          For the Second Quarter 20 I 7

                                    Current Quarter
Revenues
Interest Income                 $         4,821.04

Total Revenues                            4,821.04



Expenses
Repairs Expense                            479.10

Total Expenses                             479.10

Net Income                      $         4,341.94




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             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 20 of 53
             STANDARDIZED FUND ACCOUNTING REPORT for JL Gateway Receivership-Cash Basis
             Receivership Civil Court Case No. 3:17-cv-00223-RS
                      Period        1 to June    2017

   ND ACCOUNTING
                                                                                   Detail      Subtotal     Grand Total
  ne1        Beginning Balance (As of March 31,20171                                                                0.00
             lncreases in Fund Balance:
  ne2        Business lncome                                                      140,653.47   140,653.47
  ne3        Cash and Securities                                                   74,569.s5    74,569.55
Line   4     lnteresUDividend lncome                                                                 0.00
Line   5     Business Asset Liquidation
Line   6     Personal Asset Liquidation
Line   7     Third-Party Litigation lncome
Line   I     Miscellaneous - Other
               Total Funds Available (Lines                         I   -   8):   215,223.02   215,223.02     215,223.02
             Decreases in Fund Balance:
Line 9       Disbursements to lnvestors
Line 10      Disbursements for Receivership Operations
Line 10a     Disbursements to Receiver or Other Professionals
Line 10b     Business Assef Expenses                                               81,044.64    81,044.64
Line 10c     Person al Assef Expenses
Line 10d     lnvestment Expenses
Line 10e     Th ird-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
               Total

Line 10f     Tax Administrator Fees and Bonds
Line 109     Federal and State Tax Payments
              T

Line   11    Disbursements for Distribution Expenses Paid by the Fund
Line 1la          Distribution Plan Development Expenses:
                  1. Fees:
                       Fund Administrator... . .. . .. . .. ... . ..
                       lndependent D¡stribution Consultant (lDC).
                       Distribution 49ent...........
                       Consultants,. . .. .
                       Legal Advisers..
                       Tax Advisers. .. .
                  2. Administrative Expenses
                  3. Miscellaneous
                  Total Plan

Line 1lb          Distribution Plan Implementation Expenses:
                  1. Fees:
                       Fund Administrator...        .. .   ... .. . ... ...
                       tDc................
                       Distribution Agent..   .   .. . .. .   ...   .


                       Consultants. .. .. .
                       Legal Advisers..
                       Tax Advisers. .. .
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                       Notice/Publishing Approved Plan..,
                       Claimant ldentification....
                       Claims Processing.....................
                       Web Site Maintenance/Call Center
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution (FAIR)
                   Reporting Expenses
                  Total Plan


       12    Disbursements to CourUOther:
       12a        lnvestment Expenses/Court Registry lnvestment
             Sysfem (CR/S) Fees
       12b      Federal Tax Payments
           Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 21 of 53

            Total Disbursements to CouruOther:
            Total Funds Dlsbursed (Llnes 9 - ll):                                                                                        0.00
    t3     Ending Balance (As of June 30, 2017):                                                                                  '134,'178.38
Line 14    Ending Balance of Fund - Net Assets:
Line 14a      Cash & Cash Equivalents                                                       134,178.38             134,178.38
Line 14b       lnvestments
Line 14c       OfherAssefs or Uncleared Funds
             Total Ending Balance of Fund                              -   Net Assets       134,178.38             134,178.38     134,178.38


OTHER SUPPLEMENTAL INFORMATION:
                                                                                             Detail                ubtotal      Grand Total
            Report of ltems NOf           Io   Be PaÍd by the Fund:
Line 15    Disbursements for Plan Admin¡strat¡on Expenses Not Paid by the Fund:
Line 15a       Plan Development Expenses Not Paid by the Fund:
                1. Fees:
                       Fund Administrator.       .. . ..   .


                       tDc...................              ...
                       Distribution Agent.     .. . .. . ..    .


                       Consultants. .. ...
                       Legal Adv¡sers..
                       Tax Advisers....
               2, Administrative Expenses
               3. Miscellaneous
               Total Plan

Line 15b       Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                       Fund Adm¡nistrator.       .. . .. . .. ... ... . ..
                       tDc................
                       D¡stribut¡on Agent.. . ... ... ...          .


                       Consultants... .. .
                       Legal Advisers..
                       Tax Advisers.. . .
               2. Administrative Expenses
               3. lnvestor ldentification:
                       Notice/Publish¡ng Approved Plan... .............
                       Claimant ldentification.. . .
                       Claims Processing.................
                       Web Site Maintenance/Call Center. .. ... ... .
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses

Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
                                                                                        Not Paid        the Fund
Line l6    Disbursements to CourUOther Not Paid by the Fund
Line 16a           stment Ex penses/CR/S Fees
               I nve

Line 16b       Federal Tax Payments


Line 17    DC & State Tax

Line 18    No. of Claims:
Line 18a      # of Claims Received This Repofting Period. .... .... ... ..
Line 18b      # of Claims Received Since lnception of Fund..,.........
Line 19    No. of Claimants/lnvestors:
Line 19a      # of Claimants/lnvesfors Paid This Reporting Period....
Line 19b      # of Claimants/lnvesfors Paid Since lnception of Fund.




                                                                                                   L.



                                                                                                                    I
                      Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 22 of 53
                                                   JL GATEWAY LLC
                                                 Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                       June 30, 2017

                                                            ASSETS

Current Assets
Checking-Boston Private Bank         $         134,178.38

Total Current Assets                                                  134,178.3 8

Property and Equipment

Total Property and Equipment                                                 0.00

Other Assets

Total Other Assets                                                           0.00

Total Assets                                                  $       134,178.38




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                    0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                  0.00

Total Liabilities                                                            0.00

Capital
Turnover Funds                       $          57,072.03
Net Income                                      77,106.35

Total Capital                                                         134,178.38

Total Liabilities & Capital                                   $       134,178.38




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                    Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 23 of 53
                                                                                      Page:   I
                                                JL GATEWAY LLC
                                             Susan L. Uecker, Receiver
                                                  Income Statement
                                            For the Second Quarter 2017

                                      Cunent Quarter
Revenues
Rental Income                     $      101,610.22
CAM/Ins/It4gm{Late                        39,043.25

Total Revenues                           140,653.47



Expenses
 Office Expense                               69.49
 Expenses Paid by Eclipse                 79,375.15
 Taxes - State and Local                   1,600.00

Total Expenses                            91,044.64

Net Income                        $       59,608.83




                                           For Management Purposes Only
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 24 of 53
              STANDARDIZED FUND ACCOUNTING REPORT for CA Gold Medal Receivership-Cash Basis
              Receivership Civil Court Case No. 3:17-cv-00223-RS
                        Period       1 to June    2017

FUND ACCOUNTING fSee lnstructions)

       1      Beginning Balance (As of March 3'1,2017,                                                                       0.00
              lncreases in Fund Balance:
       2     Business lncome
       3     Cash and Securities                                                    15,755,714,66   15,755,714.66
Line   4     lnteresUDividend lncome                                                     3,364,74        3,364.74
Line   5     Business Asset Liquidation
Line   6     Personal Asset Liquidation
Line   7                Litigation lncome
Line   8     Miscellaneous - Other                                                      19,123.30       19,123.30
              Total Funds Avallable (Llnes I                    -    8):            15,778,202.70   15,778,202.70   15,778,202.70
             Decreases in Fund Balance:
Line 9       Disbursements to lnvestorc
Line 10      Disbursements for Receivership Operations
Line 10a     Disbursements to Receiver or Other Professionals
Line 10b     Business Assef Fxpenses                                                     4,837,40        4,837.40
Line 10c     Personal Assef Expenses
Line 10d     lnvestment Expenses
Line 10e     Th ird-Party Litig ation Ex pe n ses
                  1. Attorney Fees
                  2. Litigation Expenses


Line 10f      Tax Administrator Fees and Bonds
Line 109     Federal and Sfafe          lax Payments

Line 11      Disbursements for Distribution Expenses Paid by the Fund:
       11a      Distribution Plan Developmenf Expenses;
                  1. Fees:
                          Fund Administrator...
                          lndependent Distribution Consultant (lÞC)......
                          Distribution 49ent..............
                          Consultants... ...
                          Legal Advisers,,.
                          Tax Advisers... ..
                  2. Administrative Expenses
                  3. Miscellaneous


       11b       Distribution Plan lmplementation Expenses:
                  1. Fees:
                        Fund Administrator...................
                          tDc.....,...........
                          Distribut¡on Agent... ... ... ... ... ... ...
                          Consultants... ... .
                          Legal Advisers...
                          Tax Advisers....,
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                          Notice/Publ¡shing Approved Plan........................
                          Claimant ldentification... ...
                          Claims ProcessinS................. ..
                          Web Site Maintenance/Call Center...........
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses
                 Total Plan


Line 12      Disbursements to CourUOther:
Line 12a         I nve   stme nt Expense s/Co u rt Reg ¡stry I nve stme nt
             Sysfem (CR/S) Fees
Line 12b        Federal Tax Payments
               Total Disbursements to CourUOther:
               Total Funds Disbursed (Lines 9 l'l):              -                                                      4,837.40
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 25 of 53

       13    Ending Balance (As ofJune 30,20171:                                                                                5.773.365.30

L¡ne   14    Ending Balance of Fund - Net Assets:
Line   14a      Cash & Cash Equivalents                                                        15,773,365.30   15,773,365.30
Line   14b      lnvestments
Line   14c      OfherAssefs or Uncleared Funds
              Total Ending Balance of Fund - Net Assets                                        15,773,365.30   15,773,365.30   15,773,365.30


OTHER SUPPLEMENTAL INFORMATION:
                                                                                                                               Grand Total
              Report of ltems Â/OI Io Be Paid by the Fund:
Line 15      Disburcements for Plan Admin¡strat¡on Expenses Not Paid by the Fund:
Line 15a         Plan Developmenf Expenses Not Paid by the Fund:
                  1. Fees:
                       Fund Administrator...................
                       tDc.................
                       D¡str¡bution 49ent.....................
                       Consultants......
                       Legal Advisers..............
                       TaxAdvisers....... ...
                  2. Administrative Expenses
                  3. Miscellaneous


Line 15b         Plan lmplementation Expenses Not Paid by the Fund:
                  1. Fees:
                       Fund Administrator...................
                       rDc..............
                       Distribution 49ent.....................
                       Consultants... ... .
                       Legal Advisers...
                       Tax Advisers.....
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                       Notice/Publ¡sh¡ng Approved P14n... .......,.............
                       Cla¡mant ldentification... ...
                       Cla¡ms Processing...................
                       Web Site Maintenance/Call Center............. .........
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses
                                                    Not Paid    the Fund
Line 15c         Tax Administrator Fees & Bonds Not Paid by the Fund
               Totel
Line l6       D¡sbuFements to CourUOther Not Paid by the Fund:
Line 16a                               Fees
                  lnvestment ExpenseslOR/S
Line 16b         Federal Tax    Payments                                                I

                                                                                        I

                    Disbursements to
Line 17       DC & State Tax

Line 18       No. of Glaims:
Line 18a         # of Cl aim s Received       Th   is Reporti ng   Pe riod.....   ..........
Line 18b         # of Claims Received Since Inception of Fund...... ..... ..
Line 19       No. of Claimants/lnvestors:
Line 19a         # of Claimants/lnvestors Pa¡d This Reporting Period.....
Line 19b         # of Claimants/lnvestors Paid Since lnception of Fund..




                                                                                            Date
                                                                                                      4t>r/t        î
                       Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 26 of 53
                                               CALIFORNIA GOLD MEDAL
                                                  Susan L. Uecker, Receiver
                                                       Balance Sheet
                                                        June 30, 2017

                                                             ASSETS

Current Assets
Checking - Boston Private             $          18,318.16
Checking-BP-Crystal Golden                        5,502.40
Money Market - Boston Private                15,749,544.74

Total Current Assets                                                  15,773,365.30

Property and Equipment

Total Property and Equipment                                                   0.00

Other Assets

Total Other Assets                                                             0.00

Total Assets                                                   $      15,773,365.30




                                                LIABILITIES AND CAPITAL

Current Liabilities
Central Escrow Funds                  $      15,746,180.00
CS II Funding (Community Bank)                   18,550.00
Prepaid Security                                    s73.30

Total Current Liabilities                                             15,765,303.30

Long-Term Liabilities

Total Long-Term Liabilities                                                    0.00

Total Liabilities                                                     15,765,303.30

Capital
Turnover Funds                                    4,032.26
Turnover - Crystal Golden                         5,502.40
Net Income                                       (1,472.66)

Total Capital                                                              8,062.00

Total Liabilities & Capital                                    I      15,773,365.30




                                          Unaudited - For Management Purposes Only
                    Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 27 of 53
                                                                                      Page:   I
                                           CALIFORNIA GOLD MEDAL
                                             Susan L. Uecker, Receiver
                                                  Income Statement
                                            For the Second Quarter 2017

                                      Current Quarter
Revenues
Interest Income                   $         3,364.74

Total Revenues                              3,364.74



Expenses
 Storage                                      385.88
Utilities Expense                           4,451.52

Total Expenses                              4,837.40

Net Income                        $        (1,472.66)




                                           For Management Purposes Only
        Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 28 of 53

         STANDARDIZED FUND ACCOUNTING REPORT for Crystal Golden Receivership-Cash Basis
         Receivership Civil Court Case No. 3:17-cv-00223-RS
              rti  Period       1 to June    2017

ND ACCOUNTING
                                                                                                  Grand Total
   1     Beginning Balance (As of March 31, 20171                                                         0.00

         lncreases in Fund Balance:
ne 2     Business Income
   3     Gash and Securities                                                5,502.40   5,502.40
  4      lnteresUDividend lncome
   5     Business Asset Liquidation
ne 6     Personal Asset Liquidation
ne 7     Third-Party Litigation lncome
ne I     Miscellaneous - Other
           Total Funds Available (Lines             I   -   8):             5,502.40   5,502.40       5,502.40

         Decreases in Fund Balance:
ne9      Disbursements to lnvestors
ne 10    Disbursements for Receivership Operations
  10a    Disbursements to Receiver or Other Professionals
  10b    Euslness Assef Expenses
  10c    Persona/ Asset Expenses
  10d    lnvestment Expenses
  10e    Third-Party Litig ation E x pen se s
             1. Attorney Fees
             2. Litigation Expenses
           Total
  10f    Tax Administrator Fees and Bonds
  1og    Federal and Sfafe lax Payments
                                                                                0.00       0.00           0.00

ne 1l    Disbursements for Distribution Expenses Paid by the Fundl
  11a       Distribution Plan Development Expenses:
             1. Fees:
                  Fund Administrator... ... . ..
                  lndependent Distribution Consultant (lDC)
                  Distribution Agent...
                  Consultants... ... ...
                  Legal Advisers.....
                  Tax Adv¡sers... .. . .
             2. Administrative Expenses
             3. Miscellaneous
                  Plan

  11b       Distribution Plan lmplementation Expenses:
             1. Fees:
                  Fund Administrator..................
                  tDc................
                  Distribution 49ent.............
                  Consultants. .. . .
                  Legal Advisers..
                  Tax Advisers... .
             2. Administrative Expenses
             3. lnvestor ldentification:
                  Notice/Publishing Approved P|an..................,.....
                  Claimant ldentification.....
                  Claims Processing.................
                  Web Site Maintenance/Call Center. .. ...        ...   .


             4. Fund Administrator Bond
             5. Miscellaneous
            6. Federal Account for lnvestor Restitution (FAIR)
             Reporting Expenses
            Total Plan


ne 12    Disbursements to GourUOther:
  12a       lnvestment Expenses/Courf Registry lnvestment
         Sysfem (CR/S,)Fees
              Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 29 of 53

       12b         Federal Tax Payments
                 Total Disbursements to Court/Othen
                 Total Funds Disbursed (Lines 9 - 1l):                                                                         0.00
Line 13         Ending Balance (As ofJune 30,2017):
Line 14         Ending Balance of Fund - Net Asseb:
Line 14a           Cash & Cash Equivalents                                                 5,502.40          5,502.40
Line 14b            lnvestments
Line 14c          OfherAssefs or Uncleared Funds
                 Total Ending Balance of Fund - NetAssets                                  5,502.40          5,502.40


             SUPPLEMENTAL INFORMATION
                                                                                                                        Grand Total
                        of ltems NOT To Be Paid by the Fund:
Line   l5       Disburcements for Plan Administration Expenses Not Paid by the Fund
       15a         Plan Developmenf Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator...,..............
                         tDc................
                         Distr¡bution Agent... ...   ..   . .   ..   .


                         Consultants.....
                         Legal Advisers..
                         Tax Advisers.    ..   .

                    2. Administrative Expenses
                    3. Miscellaneous
                         Plan

Line 15b           PIan lmplementation Expenses Not Paid by the Fund.
                    1. Fees:
                         Fund Administrator..................
                         tDc................
                         Distribution 49ent.............
                         Consultants.....
                         Legal Advisers..
                         Tax Advisers..    .   .


                    2. Administrative Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved P|an.,.......................
                         Cla¡mant ldentification.....
                         Claims Processing.................
                         Web Site Maintenance/Call Center..........
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. FAIR Reporting Expenses
                    Total Plan
Line 15c            Tax Administrafor Fees & Bonds Not Paid by the Fund
                               nsements for Plan Administration                      Not Paid     the Fund
Line   l6       Disbursements to GourUOther Not Paid by the Fund
Line 16a           I nve stment Ex pen ses/C R/S Fees

Line 16b           Federal Tax Payments
                 Total Disbu
       17       DG & State Tax

       l8       No. of Claims:
       18a         # of Claims Received This Reporting Period ..... ...... ..
       18b         # of Claims Received Since lnception of Fund...........
       l9       No. of Claimants/lnvestors:
       19a         # of Claimants/lnvesfors Paid This Reporting Period ..
       19b         # of Claimants/lnvesfors Paid Since           of Fund.




                                                                                           L.U



                                                                                    Date
                                                                                            7l>sr/,7
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 30 of 53
               STANDARDIZED FUND ACCOUNTING REPORT for West Oakland Plaza Receivership-Cash Basis
               Receivership Civil Court Case No. 3:17-cv-00223-RS
                         Period:     I 1 to June   2017

           ACCOUNTING
                                                                                             Detail
       1       Beginning Balance (As of March 31,20171                                                                    0.00
               /ncreases in Fund Balance:
       2       Business lncome
       3       Cash and Securities                                                              2,870.08   2,870.08
Line 4         lntereeUDividend lncome
Line 5         Business Asset Liquidation
Line 6         Perconal Asset Liquidation
Line 7         Third-Party Litigation Income
Line I         Miscellaneous - Other
                 Total Funds Available (Lines             I   -   8):                           2,870.08   2,870.08   2,870.08
               Decreases in Fund Balance:
Line 9         Disbursements to lnvestors
Line   l0      Disbursements for Receivership Operations
Line 10a       Disbursements to Receiver or Other Professionals
Line 10b       Buslness Assef Expenses
Line 10c                  Assef Expenses
Line 10d       lnvestment Expenses
     10e       Third-Party Litigation Ex pen ses
                   1. Attorney Fees
                   2. Litigation Expenses


       10f     Tax Administrator Fees and Bonds
       1og     Federal and State Tax Payments
                                              for
       1t      Disbursements for Distribution Expenses Paid by the Fund:
       11a        Distribution Plan Development Expenses:
                   1. Fees:
                        Fund Administrator..................
                        lndependent Distribution Consultant (lDC)...........
                        Distr¡bution Agent.............
                        Consultants.. . . .
                        Legal Advisers..
                        Tax Advisers. .. .
                   2. Administrative Expenses
                   3. Miscellaneous


Line 11b          Distribution Plan lmplementation Expenses:
                   1. Fees:
                        Fund Administrator..................
                        tDc................
                        Distribution 49ent..,,,..,.....
                        Consultants.. . ..
                        Legal Advisers..
                        Tax Advisers....
                   2. Administrative Expenses
                   3. lnvestor ldentification:
                        Notice/Publishing Approved P|an.....................,
                        Claimant ldentificâtion....
                        Claims Processing.............,.,,
                        Web Site Maintenance/Call Center...................
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution (FAIR)
                   Reporting Expenses
                  Total Plan
                                                                                  Paid   the Fund
       12     Disbursements to GourUOther:
       12a       I nvestment Ex pen      se s/Co u rt Reg i stry I nve   stment
              Sysfem (CR/S) Fees
              Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 31 of 53

       12b         Federal Tax Payments
                 Total Disbursements to GourUOther:
                 Total Funds Disbursed (Lines 9 - l,l}:                                                                       0.00
       l3       Ending Balance (As ofJune 30,2017):                                                                       2,870,08
Line   l4       Ending Balance of Fund - NetAssets:
Line 14a           Cash & Cash Equivalents                                                      2,870.08   2,870.08
Line 14b            lnvestments
Line 14c          OtherAssefs or Uncleared Funds
                 Total Ending Balance of Fund - NetAssets                                       2,870.08   2,870.08


             SUPPLEMENTAL INFORMATION                            :
                                                                                                                      Grand Total
                        of ltems NOT To Be PaÍd by the Fund:
Line   l5       Disbursements for Plan Administration Expe nses Not Paid by the Fund
       15a         Plan Developmenf Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator..................
                         tDc.....,..........
                         Distribution Agent.       .. .. . ...       .

                         Consultants.....
                         Legal Advisers.
                         Tax Advisers...       .

                    2. Administrative Expenses
                    3. Miscellaneous
                   Total Plan

       15b         Plan lmplementation Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator..................
                         tDc................
                         Distribution Agent...        .. . ... ...       .

                         Consultants.....
                         Legal Advisers.
                         Tax Advisers....
                    2. Administrative Expenses
                    3. lnvestor ldentification:
                         Not¡ce/Publishing Approved Plan....
                         Claimant ldentification....
                         Claims Processin9................,.....,
                         Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. FAIR Reporting Expenses
                                                                             Paid   the Fund
       15c         Tax Administrator Fees & Bonds Not Paid by the Fund
                 Total Disbu
       16       Disbursements to CourUOther Not Paid by the Fund:
       16a         I nvestme nt Ex pen se s/C R/S Fees

       16b         Federal Tax Payments
                        Disburcements to GourUOther Not Paid                        the Fund:
Line 17         DC & State Tax

Line 18         No. of Glaims:
       18a         # of Claims Received This Repo¡ling Period..... .........
       18b         #of Claims Received Since lnception of Fund.............
Line 19         No. of Claimants/lnvestors :
       19a         # of Claimants/lnvesfors Paid This Repoñing Period.. ..
       19b         # of Claimants/lnvesfors Paid Since          of Fund.
                      Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 32 of 53
                                                WEST OAKLAND PLAZA
                                                Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                      June 30, 2017

                                                        ASSETS

Current Assets
Checking-Boston Private Bank         $           2,870.08

Total Current Assets                                                   2,870.08

Property and Equipment

Total Property and Equipment                                                0.00

Other Assets

Total Other Assets                                                          0.00

Total Assets                                                $          2,870.08




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                   0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                 0.00

Total Liabilities                                                           0.00

Capital
Turnover Funds                       $           2,870.08
Net Income                                           0.00

Total Capital                                                          2,870.08

Total Liabilities & Capital                                 $          2,870.08




                                         Unaudited - For Management Purposes Only
                 Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 33 of 53
                                                                                   Page:   I
                                          WEST OAKLAND PLAZA
                                          Susan L. Uecker, Receiver
                                               Income Statement
                                         For the Second Quarter 2017

                                   Current Quarter
Revenues

Total Revenues                               0.00



Expenses

Total Expenses                               0.00

Net Income                     $             0.00




                                        For Management Purposes Only
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 34 of 53

              STANDARDIZED FUND ACCOUNTING REPORT for Berkeley Heallhcare Dynamics Receivership-Cash Basis
              Receiversh¡p Civil Court Case No. 3:17-cv-00223-RS
                        Period:      1 to June     2017

FUND ACCOUNT¡NG (Seo            lnstructions):
                                                                                        Detail      Subtota!     Grand Total
       1      Beglnnlng Balance (As ofJune 1,20171                                                                       0.00

              lncreases Ín Fund Balance:
  ne2         Buslness lncome                                                           70,000.00    70,000.00
  no3         Cash and Securities                                                      290,756.29   290,756.29
Llne   4      lntereslDividend lncome
Line   5      Business Asset Liquidation
Line   6      Personal Asset Liquldation
Line   7      Third-Party Lltigation lncome
Line   8      Miscellaneous - Othor
               Total Funds Avallable (Lines I                           -     8)l      360,756.29   360,756.29     360,756.29

              Decreases in Fund Balance:
Llne 9        D¡sbursements to lnvestors
Llne   l0     D¡sbursements for Receivership Operatlons
Line 10a      Disbursements to Receiver or Other Professionals
Line 10b      Bus,''ness Assef Expenses                                                 43,585.86    43,58s.86
Line 10c      Personal Asset Expenses
       10d    Investment Expenses
Line 10e      Th ¡rd-P arty Lit¡g ation Expe n se s
                   1. Attorney Fees
                   2. Litigat¡on Expenses
                Total
Line 10f      Tax Administrator Fees and Bonds
Líne 109      Federal and State Tax Payments
                Total                                                                                43.585.86      43.58s.86

Lino I I      Disbursements for D¡str¡bution Expenses Pald by the Fund:
Line 11a          D¡str¡bution Plan Development Expenses:
                   1. Fees:
                          Fund Administrator......................
                          lndependent Distribution Consultant (lDC)..........
                          Distribution 49ent..........
                          Consu|tants..................
                          Legal Advisers..............
                        Tax Advisers... ... ... ...... .
                   2. Adm¡nistrative Expenses
                   3. M¡scellaneous


Line 11b          D istrib ut¡on P I a   n   Im   ple me ntat¡on Expe n se s:
                   1. Fees:
                          Fund Administrator...         .   ..   ... ... . .. ... ..
                          tDc..................
                         D¡stribution 49ent...............
                         Consultants... ... .
                         Legal Advisers...
                         Tax Advisers... .         .



                   2. Administrative Expenses
                   3, lnvestor ldentification:
                         Notice/Publishing Approved P|an..,....................
                         Claimant ldentifìcat¡on......
                         Claims Processing.................. ..
                         Web Site Maintenance/Call Center.....................
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution
                   (FAIR) Reporting Expenses



Line   l2     Disbursements to CourUOther:
Line 12a         lnvestment Expenses/Court Reg¡st¡y lnvestment
              Sysfem (CR/S) Fees
Line 12b         Federal Tax Payments
               Total Dlsbursements to Court/Other:
               Total Funds Disbursed (Lines 9 - I I ):                                                              43,585.86
Llne 13       Endlng Balancê (As ofJune 30,20171:                                                                  273,584.57
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 35 of 53

Line   l4     Ending Balance of Fund - Net Assets:
Line 14a        Casñ & Cash Equivalents                                           317,170.43   317j70.43
Line 14b         lnvestments
Line 14c        Ofl¡erAssefs or Uncleared Funds
               Total Ending Balance of Fund - Net Assots                          317,170.43   317,170.43     317,170.43


       ER SUPPLEMENTAL INFORMATION
                                                                                                            Grand

              Report of ltems ÍVOI Io Be Paid by the Fund:
Line   l5     Disbursements for Plan Admin¡stratlon Expenses Not Pald by the Fund:
       15a       PIan DevelopmenfExpenses Not Paid bythe Fund:
                  1. Fees:
                         Fund Adm¡nistrator......................
                         tDc..................
                         Distribution 49ent......................
                         Consultants.......
                         Legal Advisers...
                         Tax Advisers.....
                  2. Administrative Expenses
                  3. Miscellaneous


       15b       Plan tmplementation Expenses Not Paid by the Fund:
                  1. Fees:
                         Fund Administrator......................
                         tDc..................
                         Distr¡bution Agent... ... ... ... ... .......
                         Consultants... ... .
                         Legal Advisers...
                         Tax Advisers... ..
                  2. Administrative Expenses
                  3. lnvestor ldent¡fication:
                         Notice/Publishing Approved P|an.......................
                         Claimant ldent¡fication......
                         Claims Processing.... .............. .
                         Web S¡te Maintenance/Call Center.....................
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses
                                                    Not Paid    the
Líne 15c         Tax Administrator Fees & Bonds Not Paid by the Fund
                                        Plan Adm

Line'16       Disbursements to Court/Other Not Paid by the Fund
Line 16a             stment Expenses/CR/S Fees
                 I nve

Line 16b         Federal Tax Payments
                                                                         Not Pa
Llne 17       DC & Statê Tax                  nts
       18     No. of Claims:
       18a       # of Claims Received This Report¡ng Period......,.........
       18b       # of Claims Received Since Incept¡on of Fund.............,
       l9     No, of Claimants/lnvestors:
       19a       # of Claimants/lnvestors Paid This Reporting Period .....
       19b       # of Claimants/lnvestors Pa¡d S¡nce           of Fund...
                Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 36 of 53


8:21 AM                                Berkeley Healthcare Dynamics, LLU
07t03t17                                              Balance Sheet
Accrual Basis                                         As of June 30,2017

                                                                               Jun 30, 17
                  ASSETS
                     Current Assets
                       Checking/Savings
                          1 1000 . Checking/Savlngs

                             11100 ' East West Bank xxxx8923                          317,170.43

                           Total 1 1000 . Checking/Savings                                          317,170.43

                       Total Checking/Savings                                                       317,170.43

                       Other Current Assets
                         11400 ' Deposits
                            11410, Accountant Deposit                                     12,500.00

                           Total 11400. Deposits                                                      12,500.00

                       Total Other Current Assets                                                     12,500.00

                     Total Current Assets                                                           329,670.43

                     Fixed Assets
                       15000'Fixed Assets
                           f5f00 ' Real Estate
                              15110. Building                              6,459,664.13
                              15120 ' Land                                 2,153,221.37
                              15160 . Loan Charges                          384,81 1.00

                           Total 15100. Real Estate                                 8,997,696.50

                       Total 15000 ' Fixed Assets                                               8,997,696.50

                        17000 . Accumulated Dep/Amort
                          17100 ' Accumulated Depreciation                           -769,389.23
                          17600 . Accumulated Amortization                           -175,349.',15

                        Total 17000 ' Accumulated Dep/Amort                                         -944,738.38

                     Total Fixed Assets                                                         8,052,958.12

                     Other Assets
                        18000 ' Due From
                          18300 . Due from BHD, LP                                     74,450.00
                           18500 ' Due from NA3PL, LLC                                303,289.00
                           18600' Due from NA3PL, LP                                   25,000.00
                           18700. Duefrom SFRG                                        433,000.00
                           18900. lnvestment in BHÞ, LP                            -2,236,977.53

                        Total 18000. Due From                                                  -1   ,401,238.53

                     Total Other Assets                                                        -1   ,401,238.53

                   TOTAL ASSETS                                                                 6,981,390.02

                   LIABILITIES & EQUITY
                     Liabilities
                        Current Liabilities
                          Accounts Payable
                              20000 . Accounts PaYable                                                 1,755.00

                           Total Accounts PaYable                                                      1,755,00




                                                                                                                  Page   I
                Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 37 of 53


8:21 AM                                 Berkeley Healthcare Dynamics, LLC
07103117                                                   Balance Sheet
Accrual Basis                                              As of June 30,2017

                                                                                Jun 30, 17
                          Other Current Liabilities
                            25000' Due To
                                25300. Due to      BHD, LP                            779,941 .46
                                25400 . Due to     Clement Chin                        50,000.00
                                25450 . Due to     Kevln Shimamoto                     50,000,00
                                25500 . Due to     NA3PL, LLC                         159,695.44
                                25600. Due to      NA3PL, LP                           25,000.00
                                25700. Due to      SFRC                             2,806,581 .21
                                25900 ' Due to     Other                            2,379,598.27

                             Total 25000' Due To                                              6,250,816.38

                          Total Other Current Líabilities                                     6,250,816.38

                       Total Current Liabilities                                              6,252,571.38

                       Long Term L¡abil¡ties
                          28000 . EWB Loan #3180040063                                        5,927,846.00

                       Total Long Term Liabilities                                            5,927,846.00

                    Total Liabilities                                                        12,180,417.38

                    Equity
                       30000 . Opening Balance Equity                                        -2,779,181.21
                       32000 ' Retained Earnlngs                                             -1,606,566.52
                       32100 . Net lncome                                                      -883,045.75
                       Net lncome                                                                69,766.12

                    Total Equlty                                                             -5,199,027.36

                  TOTAL LIABILITIES & EQUITY                                                  6,981,390.02




                                                                                                             Page 2
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8:21 AM                                Berkeley Healthcare Dynamics, LLO
07t03t17                                            Profit & Loss
Accrual Basis                                            June 2017

                                                                           Jun 17
                    lncome
                       41000   ' Rental lncome                              70,000.00

                    Tota¡ lncome                                            70,000.00

                    Expense
                       53000.lnsurance                                       4,081.40
                       62000' Depreciation and Amortizatlon                 17,009.46
                       63000. Interest Expense                              22,495.03

                    Total Expense                                           43,585.89

                  Net lncome                                                26,414.1'l




                                                                                         Page   1
                Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 39 of 53


8:26 AM                                  Berkeley Healthcare Dynamics, LP
07t03t17                                                   Balance Sheet
Accrual Basis                                              As of June 30,2017

                                                                                Jun 30, 17
                  ASSETS
                    Current Assets
                      Checking/Savlngs
                         1 1000 ' Checking/Savings
                            1'1100 . East West Bank xxxx 2983                         685.08

                           Total 1 1000' Checking/Savings                                        685.08

                       Total Checking/Savings                                                    685.08

                    Total Current Assets                                                         685.08

                    Other Assets
                       18000. Due From
                         18200. Duefrom BHD, LLC                                 779,941 .00
                         18500 . Due from NA3PL, LLC                            1,075,754.00
                         18700. Duefrom SFRC, LLC                                 735,000.00
                         18800 . Due lrom Tesh, LLC                                79,585.00
                         18950 . lnvestment in Magic Ear, LLC                     -26,913.00

                       Total 18000 . Due From                                            2,643,367.00

                    Total Other Assets                                                   2,643,367.00

                  TOTAL ASSETS                                                           2,644,052.08

                  LIABILITIES & EOUIÏY
                    Llabilities
                       Current Liabilities
                           Other Current Llabilities
                              25000 . Due To
                                 25200 .Due to     BHD, LLC                       74,450.00
                                 25500 ' Due to    NA3PL, LLC                   1,075,754.O0
                                 25700 . Due to    SFRC, LLC                     894,992.79
                                 25800 . Due to    Tesh                           79,585.00
                                 25900 ' Due to    Other                             339.00

                             Total 25000 . Due To                                        2,125,120.79

                           Total Other Current Liabilities                               2,125,120.79

                       Total Current L¡abilities                                         2,125,120.79

                    Total Liabilities                                                    2,125,120.79

                    Equity
                       31000.Partner1Equity                                                  527,711 .75
                       32000 . Retained Earnings                                              -8,049.51
                       Net lncome                                                               -730.95

                    Total Equity                                                             518,931.29

                  TOTAL LIABILITIES & EOUITY                                             2,644,052.08




                                                                                                           Page   1
                Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 40 of 53


8;23 AM                              Berkeley Healthcare Dynamics, LP
07to3t17                                     Profit & Loss
Accrual Basis                                    June 2017

                                                                        Jun 17

                    lncome                                                        0,00

                    Expense
                       88300. Bank Fees                                          12.00

                    Total Expense                                                12.00

                  Net lncome                                                     -12.00




                                                                                          Page   I
              Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 41 of 53

              STANDARDIZED FUND ACCOUNTING REPORT for Comprehensive Care of Oakland Receivership-Cash Basis
              Receivership Civil Court Case No. 3:17-cv-00223-RS
                        Period:    ril 1 to June 302017

FUND ACCOUNTING (Soo lnstructions):
                                                                                                     Subtotal      Grand           Reference
Line   1      Beginning Balance (As ofJune 1,20171                                                                          0.00

              lncreases in Fund Balance:
Line 2        Business lncome                                                       982,893.99       982,893.99
Line 3        Cash and Securities                                                 2,112,523.54   2,1',t2,523.54                        'l

Line 4        lnteresUDividend lncome                                                     0.00             0.00
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Third-Pafi Litigation lncome
Line I        Miscellaneous - Other
                Total Funds Available (Lines               I   -   8):            3,095,417.53   3,095,417.53       3,095,417.53

              Decreases in Fund Balance:
Line 9        Disbursements to lnvestors
Line 10       Disbunsoments for Receivership Operations
       10a    Disbursements to Receiver or Other Professionals
       10b    Busrness Asseú Expenses                                             1,512,269.07   1,512,269.07
       10c    Pe rso n a I Asset Expenses
       10d    lnvestment Expenses
       10e    T h i rd-P a rty Liti g ation Expenses
                     1. Attorney Fees
                     2. Litigation Expenses


       10f    Tax Administrator Fees and Bonds
       1og    Federal and Sfafe        lax Payments
                                                                                  1              1   5l             1   1


       1',l   D¡sbursements for Distr¡but¡on Expenses Paid by the Fund:
       11a        Distribution Plan Development Expenses:
                   1. Fees:
                         Fund 4dministrator....................
                         lndependent Distribution Consultant (lDc)
                         Distribution 49ent...............
                          Consultants... ... .
                          Legal Advisers...
                          Tax Advisers.....
                   2. Administrative Expenses
                   3. Miscellaneous
                  Total Plan

       11b         Distribution Plan lmplementation Expenses:
                        Fees:
                          Fund Admin¡strator... ..
                          tDc..................     . ..
                          Distribution Agent... ... .
                          Consultants... ... ... ... ...
                          Legal Advisers...........
                          Tax Advisers.. . ..
                   2. Administrative Expenses
                   3. lnvestor ldentification:
                          Notice/Publishing Approved P|an......
                          Cla¡mant ldentiflcation......
                          Claims ProcessinS.....................
                          Web Site Maintenance/Call Center.....................
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution
                   (FAIR) Reporting Expenses
                  Total Plan
                Total
Line 12                             to CourUOther:
       12a        lnvestment Expenses/Court Reg¡stry Investment
              Sysfem (CR/S) Fees
Line 12b         Federal Tax Payments
               Total Disbursements to CourUOther:
               Total Funds Disbursed (Lines 9 1 1 ):               -                                                1,512,269.07
Line 13       Ending Balanco (As ofJune 30,20171:                                                                 _1,583,14&1!_
            Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 42 of 53

Linê 14     Ending Balance of Fund - Net Assets:
Line 14a      Cash & Casl¡ Equivalents                                               1,583,148.46    1,583,148.46
Line 14b       lnvestments
Line 14c      OfherAssefs or Uncleared Funds
             Total Ending Balance of Fund - Net Assets                               1,583,148.46    1,583,148.46      1,583,148.46


OTHER SUPPLEMENTAL INFORMATION:
                                                                                                                      Grand Total
            Report   of ltems NOT To Be Paid by the Fund:
Line 15     Disburcements for Plan Administration Expenses Not Paid by the Fund
Line 15a       Plan Developmenf Expenses Not Paid by the Fund:
                1. Fees
                       Fund Administrator...
                       tDc........
                       D¡stribution Agent...
                       Consultants...... ... ... ... ...
                       Legal Advisers...
                       Tax Advisers.....
                2. Administrative Expenses
                3. Miscellaneous
                                                                Paid      the Fund

Line 15b       Plan   I m ple me   ntation Ex pe n se s Not Paid by the Fund:
                 1. Fees:
                       Fund Administrator...................
                       tDc.................
                       Distribution Agent... ...... ... ...
                       Consultants... . .. .
                       Legal Advisers...
                       Tax Advisers.....
                2. Admin¡strat¡ve Expenses
                3.   lnvestor ldentifìcation:
                       Notice/Publishing Approved P|an........................
                       Claimant ldentification......
                       Claims ProcessinS.....................
                       Web Site Maintenance/Call Center......................
                4. Fund Admin¡strator Bond
                5. Miscellaneous
                6. FAIR Reporling Expenses
                       Plan
Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
                                              for Plan Administration
Line 16     Disbursements to CourUOther Not Paid by the Fund:
Line 16a       lnvestment Expenses/CR/S Fees
Line 16b       Federal Tax       Payments                                        I
                                                                                 I

             Total D
Line 17     DC & State Tax

Line   l8   No. of Claims:
Line 18a       # of Claims Received This Reporting Period...,.,....,....
Line 18b       # of Claims Received Since lnception of Fund...... .......
Line   l9   No. of Claimants/lnvestors:
Line 19a       # of Claimants/lnvesfors Paid This Reporting Period.....
Line 19b       # of Claimants/lnvestors Paid Since lnception of Fund..




       #                                      Item                                     Amount       Corres    ndi   Notes
                                                                                     2,112,523.54 Turnover funds are comprised of a loan
                                                                                                    payable, booked at $'1,858,395.68 as of
                                                                                                    6t30t17.




                                                                                     Date
                                                                                             ?l>ilt?
                             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 43 of 53
Comprehensive Care of Oakland,          LP   .    BCC Summary of Monthly Financials   .   Source: F/S Rec'd from Marjorie @ CCOO' LP
A.)                                                                       lncome Statement 2017 YTD
                                                 January                      March        April                                June          2017 YTD    %

      Total Revenue                          L,323,6Lt         t,280,544                 L,209,3e4                   ,297     L,275,382       7,7 52,84L L00%
      Nursing and Patient Care Expense            2s6,747        233,664       247,149     24t,650               260,r4t        258,405       1,497,756   t9%

      Nursing Administration Expense               37,477          37,699       27,!t4      26,248                28,640         31,858         189,036   2%

      Nursing - Sub Acule Expense                 27t,590         228,642      242,545     243,842               2s3,054        244,868       1,484,54r   79%

      PlantOperation Expense                       48,565          39,606       44,138      40,956                55,679         54,644         283,588   4%

      Housekeeping Expense                          24,062         24,049       24,t55      23,915                23,694          25,398        145,273   2%

      Laundry & Linen Expense                       !6,445         17,544       19,235      15,633                15,7t0          15,933        100,500   I%

      Dietary Expense                               57,972         57,t70       57,987      56,511                63,160          65,579        358,319   s%

      Social Services Expense                       2L,O5O         20,324       22,985      20,580                22,498          32,823        I40,260   2%

      Activities Expense                             8,426          8,509        8,334       9,408                 9,044           9,001         52,722   Io/o


      lnservice Education Expense                    8,489          8,441        8,409       8,345                 8,444           9,751         5L,879   t%

      General Administration                      t72,5t3        229,23r       2rr,843            164,4t0        174,288        r52,907       Lr05,r92    t4%

       Medical Records Expense                      27,797        24,198         25,260            24,L02         26,138          23,885        151,380   2%

       Cenhal Supply                                 t,763          1,959         1,882              t,428          2,127          2,627         tl,786   OYo



       Depreciation and Amortization                45,75O        45,750         45,750            45,750          45,750         45,750        274,500   4o/o


       Property Leases, Taxes, lns, & lnt.           5,901          7,'It         3,540              1,46t          1,960          2,220         22,593   o%

       Other Expense                                39,837        25,20t         27,996             8,875          t9,692         43,629        165,230   2%

       Ancillary Services Expense                  rgt,994       r82,174       209,019            t94,241"       199,767         t7t,654      r.r48,843   t5%

       Total Operating Expenses                  L,236,378     t,L9L,6t2 L,227,34L              L,127 ,355     L,2O9,779      1,190,932       7,183,397   93%

        Net lncome/Loss                             87,233        88,932 69,282                    82,029 157,518 84,450                        569,444   7%




B.)                                                                          Balance Sheet 2017 YTD
Assets                                       Ll3Ll2O17 2l28l2Ût7 3l3Ll2sL7                                    5l3ll2Ût7      613012077 %ofAssets
       Cash - General Checking x8013               549,956       941,746        668,77t           442,L70        982,451         550,706         3%

       Cash - Payroll Checking x0472                53,259        83,460        tto,997           170,010        t7t,l58          73,528         Oo/o


       Cash - Savings and lnvestments            1,463,338     r,463,338      1,463,351         1,463,35r      1,463,351         250,134         I%
       Cash - lmprest Funds                          2,500          2,500         2,500              2,500          2,500          2,500         0%

       Patient Accounts Receivable               2,436,849     2,055,897      2,259,639         2,505,O28      2,214,363       2,472,834        73%

       Other Accounts Receivable                     5,775          5,775         5,775             5,775          5,775           5,775         o%

       Due from Affilìates                       6,513,008     6,513,008      6,513,008         6,513,008      6,513,008       7,924,346        40%

       Prepaid Assets & Deposits                   t30,4t9       160,536        t44,843           t29,L49         t13,456         97,762         0%

       Property, Plant and EquiPment          9,309,912        8,329,601"     8,363,166         8,372,679      8,402,697       9,402,697        43%
                                             (1,697,898)       (1,733,600)   (7,769,302l,      (1,805,004)     (1,840,706)    (1,876,408)       -to%
       Accumulated Depreciation
       Goodwill and Other Assets                 1,808,673      1,798,625 r,788,577             r,778,529       r,768,48t      T, 758,433        9o/o

       Total Assets                          t9,574,79t'      19,620,886 19,551,325            t9,577,196 L9,796,534         19,662,306         L00%
                                                                                                                                                 0%
 Liabilities and shareholders' equity
       Accounts Payable and Accrued Ex           L,254,222      1,294,084     1,158,084         L,125,465       t,145,352      t,031,23o         5%

       Accrued Salaries and Benefits               772,195       699,868        708,529           696,ttz         747,894        704,615         4%

       Notes Payable                             1,92L,856      t,gtt,482     1,899,979         1,890,152       t,879,573      1,959,396         9o/o

       Total Payable to Affiliates               L,g]t,678     1,8L1,678      r,8rr,678          t,gLr,678      7,9!7,678      1,811,678         9%

       Equity                                13,814,840       L3, 903,77513,973,056            t4,054,789            L4,256,387
                                                                                                              14,2t2,O37                        73%

       Total Liabilities and Equity          L9,574,791.      19,620,886 19,551,325            L9,578,L96 L9,796,534 19,652,306                 LO0%


 c.)                                                                Bank Reconciliation Summaries 2017 YTD
                                             tl3tl2o!7        2128/2017                   7 4l30l2sl7         5l3Ll2AL7       613012017
       Total Cash - Bank Balances                L,433,754     1,932,090      L,799,427         L,667,44L       2,L59,486      1,902,005
       Less 0utstanding Checks                    (778,538)      (854,885)     (967,646)        (1,003,2481      (953,864)      1927,6381
       Accounting                                r,41t,338      t,41t,338     t,4rt,338          t,4t7,338      !,411,338
       Total Cash - Book      Balances           2,066,553      2,488,544 2,243,1t9 2,075,53L 2,6L6,96O                          874,367


 D.)                                                                          Quick                Ratios
                                             u3uzott          2128l2OL7                   7    4ßAl2Ot7                       6l30l2OL7
       Cunent Liq. Assets (adj. for erroQ        3,100,340      3,14t,378     3,099,696          3,r77,497      3,428,260      3,355,477
       Current Liabilities                       2,026,417      t,993,952     1,866,613          L,82t,s78      1,893,246      1,735,845
       Quick Liquidily Ratio                          1.53            1.58          1.66               t.74           r.81             1.93
              Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 44 of 53
                SïANDARDIZED FUND ACCOUNTING REPORT for NA3PL Escrow Funds-Cash Basis
                Receivership Civil Court Case No. 3:17-cv-00223-RS
                          Period     ril 1 to June 302017

           ACCOUNTING
                                                                                                               Subtotal       Grand Total
  ne1           Beginning Balance (As of June 1,2017Ì.                                                                                0.00
                lncreases in Fund Balance:
Line 2          Business lncome
Line 3          Cash and Securities-Escrow Funds                                               5s9,099.00       559,099.00
Line 4          lnteresUDividend lncome                                                            1 't6.6'l        't16.61
Line   5        Business Asset Liquidation
Line   6        Personal Asset Liquidation
Line   7        Third-Party Litigation lncome
Line   8        Miscellaneous - Other                                                              925.00           925.00
                  Total Funds Available (Lines                               I   -       8):   560,140.61       560,140.61      560,140.61
                Decreases in Fund Balance:
Line 9          Disbursements to lnvestors
Line   l0       Disbursements for Receivership Operations
Line 10a        Disbursements to Receiver or Other Professionals
       10b      Eusrness Assef Expenses                                                               0.00            0.00
       10c      Personal Assef Expenses
Line 10d        lnvestment Expenses
       10e      Th i rd- P arty Litig ati o n Fxpenses
                      1. Attorney Fees
                      2. Litigation Expenses
                  Total

       10f      Tax Administrator Fees and Bonds
       1og      Federal and Stafe           lax Payments
                                                                                                                      0.00
       1',l     Disbursements for Distribution Expenses Paid by the Fund:
       11a          Distribution PIan Developmenf Expenses;
                     'l   . Fees:
                             Fund Adm¡nistrator.. . ... . .. . .. .. . .. .
                             lndependent D¡stribut¡on Consultant (lDC)...........
                             D¡str¡bution   49ent..............
                             Consultants.,....
                             Legal Advisers..
                             Tax Advisers.. . .
                    2. Administrative Expenses
                    3. Miscellaneous
                    Total Plan

L¡ne 11b            Distribution Plan lmplementation Expenses:
                     1. Fees:
                             Fund Administrator..         .   .. . ..   ..   .. . ..   ...
                             tDc.................
                             Distr¡bution Agent.    . .   ... .. . . .. ..
                             Consultants... . ..
                             Legal Advisers..
                             Tax Advisers. .. .
                     2. Administrative Expenses
                     3. lnvestor ldentification:
                             Notice/Publishing Approved P|an..................
                             Claimant ldentification.
                             Claims Processing......
                             Web Site Maintenance/Call Center..........
                     4. Fund Administrator Bond
                     5. Miscellaneous
                     6. Federal Account for lnvestor Restitution
                     (FAIR) Reporting Expenses

                                    rsements for Distribution
       'i-2    Disbursements to CourUOther:
       12a          lnvestment Expenses/Couñ Registry lnvestment
               Sysfem ICR/S) Fees
       12b        Federal Tax Payments
                 Total Disbursements to CouruOther:
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                 Total Funds Disbursed (Llnes 9 - ll):                                                                                  0.00
      13        Ending Balance (As of June 30,20171:                                                                              560,140.61
L¡ne 14         Ending Balance of Fund - Net Assets:
Line 14a           Cash & Cash Equivalents
Line 14b           lnvestments
Line 14c          Other Assets or Uncleared Funds
                 Total Ending Balance of Fund - Net Assets


            SUPPLEMENTAL INFORMATION:
                                                                                                       Detail        Subtotal   Grand
                Repoñ of ltems NOT To Be Paid by the Fund:
      15        Disbursements for Plan Administration Expenses Not Paid by the Fund:
      15a          Plan Developmenf Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator....
                         tDc..............,.........
                         Distribution Agent.. . ...
                         Consultants......
                         Legal Advisers..
                         Tax Advisers.. . .
                    2. Administrative Expenses
                    3. Miscellaneous


      15b          Plan lmplementation Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator.       .. ..   .   ... ... ... ...
                         tDc.................
                         D¡str¡bution Agent.. . ... ... ...         ..
                         Consultants... ...
                         Legal Advisers..
                         Tax Advisers....
                    2. Administrative Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved P|an........................
                         Claimant ldentification.....
                         Cla¡ms Process¡ng...................
                         Web Site Ma¡ntenance/Call Center......................
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. FAIR Reporting Expenses
                   Total Plan
      15c          Tax Administrator Fees              & Bonds Not Paid by the Fund
                                                                                                             Paid
 ne 16          Disbursements to CourUOther Not Paid by the Fund:
      16a          I nve stment ExpenseVCRlS Fees

      16b          Federal Tax Payments                                                     I

                                         CourUOther Not Paid                                the Fund
 ne 17          DC & State Tax

 ne   l8        No. of Claims:
      18a           # of Claims Received This Repoñing Period                    ..   ...

      18b          # of Claims Received Since lnception of Fund.............
 ne 19          No. of Claimants/lnvestors:
      19a          #of Claimants/lnvesfors Paid This Reporting Period...,.
      19b          # of Claimants/lnvesfors Paid Since                                 of Fund.




                                                                                                       nL.



                                                                                                Date
                                                                                                                7l>g/,ç
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                                                       NA3PL, LP
                                                 Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                       June30,2017

                                                            ASSETS

Current Assets
Checking - Boston Private            $         560,140.61

Total Current Assets                                                  560,140.61

Property and Equipment

Total Property and Equipment                                                 0.00

Other Assets

Total Other Assets                                                           0.00

Total Assets                                                  $       560,140.61




                                              LIABILITIES AND CAPITAL

Current Liabilities
Investor Funding                     $         559,099.00

Total Current Liabilities                                             559,099.00

Long-Term Liabilities

Total Long-Term Liabilities                                                  0.00

Total Liabilities                                                     559,099.00

Capital
Turnover Funds                                     925.00
Net Income                                         116.61

Total Capital                                                           1,041.61

Total Liabilities & Capital                                   $       560,140.61




                                         Unaudited - For Management Purposes Only
                  Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 47 of 53
                                                                                    Page:   1

                                                   NA3PL, LP
                                            Susan L. Uecker, Receiver
                                                Income Statement
                                          For the Second Quarter 2017

                                    Current Quarter
Revenues
Interest Income                 $           I16.61

Total Revenues                              I16.61


Expenses

Total Expenses                                0.00

Net Income                      $           I16.61




                                         For Management Purposes Only
             Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 48 of 53
              STANDARDIZED FUND ACCOUNTING REPORT for NA3PL (Business)-Cash Basis
              Receivership Civil Court Case No. 3:17-cv-00223-RS
                        Period:      1 to June 302017


FUND ACCOUNTING (See          lnstructions):
                                                                                       Dotail        Subtotal      Grand Total
Llne   I      Beglnnlng Balance (As ofJune 1,20171                                                                         0.00
              lncreases in Fund Balance:
       2      Bus¡ness lncome                                                          383,663.s0     383,663.50
  ne3         Cash and Secur¡ties                                                      435,497,88     435,497.88
  ne4         lnteresUDlvidend lncome                                                        0.00           0.00
  nes         Business Asset Liquidation
  ne6         Personal Asset Liquidation
  ne7         Thlrd-Party Lltlgation lncome
  ne8         Miscellaneous - Other                                                          0.00           0.00
                Total Funds Avallable (Llnes                 I   -    8):              819,161.38     819,161.38     819,161.38
              Decreases Ín Fund Balance:
  ne9         D¡sburcêments to lnvestors
  ne   l0     Disbursements for Receivership Operations
       10a    Disbursements to Receiver or Other Profess¡onals
       10b    Bus,ness Assef Expenses                                                  368,046.99     368,046.99
       10c    Personal Assef Expenses
       10d    lnvestment Expenses
       10e    Third:Party Litigation Expen ses
                  1. Attorney Fees
                  2. Litigation Expenses


Line 10f      Tax Administrator Fees and Bonds
Line 109      Federal and Sfafe fax Payments
                                                                                                99   368.046.99      368.046.99
Line I I      Disbursements for Distribution Expenses Paid by the Fund
Line 11a         Distribution Plan Development Expenses:
                  L   Fees:
                         Fund 4dministrator......................
                         lndependent D¡stribution Consultant (lDC).........
                         D¡str¡bution Agent.....
                        Consu|tants... ... ... ... ... ...
                        Legal Advisers...
                        Tax Advisers... ..
                  2. Administrative Expenses
                  3. Miscellaneous


Line 11b         D i strib ution   PIan   Im   ple me   ntation Ex pe nse s :
                  1. Fees:
                        Fund Administrator... ... ... ... ... ... ..
                        tDc..................
                        Distr¡bution 49en1... ... ... ... ...
                        Consultants.......
                        Legal Advisers...
                        Tax Adv¡sers... ..
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                        Notice/Publishing Approved P|an.......................
                        Claimant ldentif¡cation......
                        Claims Processing... ................
                        Web S¡te Maintenance/Call Center.....................
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses

                                                                 bution         Paid   the
       ,t2    Disbursements to Court/Other:
       12a       lnvestment Expenses/Court Reg¡stry I nvestment
              Sysfem (CR/S) Fees
       12b       Federal Tax Payments
               Total Disbursements to Court/Other:
               Total Funds D¡sbursed (Lines 9 l1):                -                                                  368,046.99
Line   l3     Ending Balance (As ofJune 30,2017):                                                                    451,114.39
            Case 3:17-cv-00223-RS Document 201 Filed 07/28/17 Page 49 of 53
L¡nê 14      Endlng Balance of Fund            -   Net Assets:
Line 14a         Caså & Cash Equ¡valents                                                   45'l,114.39   451,114,39
Line 14b         lnvestments
L¡ne 14c         OfáerAssefs or Uncleared Funds
               Total Ending Balance of Fund - Net Assets                                   451,114.39    451,114.39   ____45r,1r4.99_

OTHER SUPPLEMENTAL INFORMATION:
                                                                                           Detail                       Grand Total
                     of ltems NOT         To Be Paid       by the Fund:
Line   l5                        for Plan Adminlstratlon Expenses Not Paid by the Fund:
Line 15a         PIan Development Expenses Not Paid by the Fund:
                  1. Fees:
                       Fund Adm¡nistrator........
                       tÞc............................
                       Distribution 49ent..........
                       Consultants..................
                       Legal Advisers......... ... ..
                       Tax Advisers... ... ... ... ... .
                  2. Administrative Expenses
                  3. Miscellaneous
                 Total Plan

Line 15b         Plan lmplementation Expenses Not Paid by the Fund:
                  1. Fees:
                       Fund Administrator......................
                       tDc..................
                       Distribution 49ent...............
                       Consultants... ... .
                       Legal Advisers...
                       Tax Advisers.....
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                       Notice/Publishing Approved P|an.......................
                       Claimant ldentification......
                       Claims ProcessinS.....................
                       Web Site Maintenance/Call Center....................,
                 4. Fund Administrator Bond
                 5. Miscellaneous
                 6. FAIR Reporting Expenses

Line 15c         Tax Admin¡strator Fees & Bonds Not Paid by the Fund


Line   l6    Disbursements to CouruOther Not Pald by the Fund:
Line 16a                               Fees
                tnvestment Expenses/CR/S
L¡ne 16b        Federal Tax     Payments                                        I

                                                                                I

              Total Disbursemonts to
Line 17      DC & State Tax

Line   l8    No. of Glaims:
Line 18a        #of Claims Received Th¡s Repoñing Per¡od...............
Line 18b        # of Claims Received Since lnception of Fund.............
Line 19      No, of Claimants/lnvestors:
Line 19a        # of Claimants/lnvestors Paid This Reporting Period....
L¡ne 19b        # of Claimants/lnvestors Paid Since lnception of Fund.




                                                                                            L.



                                                                                                          I
                                                                                    Date
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Run:   7125117                                                                                                               Page:   1

       4:42PM                                     NORTH AMERICA 3PL, LLC
                                                      As   Of   6/30/2017 Grouped by Main G/L Account




  ASSETS

         Current Assets
                 Checking/Savings
                                 1   14OOO    - B OF A - OPERATING X2073                                     $425,152.22
                                 114200 - B OF      A.   PAYROLL X1566                                        $25,962.17

                 Tolal Ghecking/Savings                                                                      $451 ,1 14.39
                 Accounts Receivable
                                 1   15OOO -   ACCOUNTS RECEIVABLE                                           $121 ,366.48

                 Total Accounts Receivable                                                                   $121,366.48
                 Other Current Assets
                                 1   19620 - DUE FROM BAT                                                     $22,201.57
                                 1   19630 - DUE FROM BHD LLC                                                 $70,522.63
                                 1   19635 . DUE FROM BHD LP                                            $1,075,754.00
                                 1   19636 - DUE FROM CSHC LLC                                               $110,247.00
                                 1   19637 . DUE FROM CALLTEKS                                                $24,000.00
                                 1   19639 . DUE FROM CALLSOCKET II LP                                        $15,949.99
                                 119640 - DUE FROM MAGIC EAR                                                 $278,489.55
                                 1   19650 - DUE FROM NA3PL LP                                                 $2,806.25
                                 1   19670 - DUE FROM SFRC LLC                                      $1 s,670,628.1 5
                                 1   19671 - DUE FROM SFRC (2)                                          $2,266,000.00
                                 1   19673 . DUE FROM CBM                                                      $7,298.23
                                 1   19675 - DUE FROM HF TELCO                                                 $2,000.00
                                 119677 - DUE FROM JLG LLC                                                    $37,001.33
                                 119680 . DUE FROM TESH                                                 $1,970,989.37
                                 119690 . DUE FROM TRUE AGILITY                                               $99,846.25

                 Total Other Current Assets                                                         $21,653,734.32
         Total Current Assets                                                                       $22,226,215.19
         F¡xed Assets
                                 l2OOOO - LEASEHOLD IMPROVEMENTS                                        $1   ,513,434.37
                                 121OOO. SOFTWARE                                                            $65,000.00
                                 124OOO -      COMPUTER & OTHER EQUIPMENT                                $235,654.65
                                 124100 - MATERIAL HANDLING EQUIPMENT                                        $59,354.84
                                 124300. MISC WAREHOUSE EQUIPMENT                                            $53,412.71
                                 13OOOO -      ACC/DEP LEASEHOLD IMPROVEMENTS                           $(336,180.s8)
                                 131OOO -      ACC/DEP SOFTWARE                                          $(47,124.91)
                                 134OOO -      ACC/DEP COMPUTERS & OTHER EQ                             $(134,027.04)
                                 134300 . ACC/DEP MISC WHSE EQUIP                                        $(2s,702.64)
         Total Fixed Assets                                                                             $r,379,821.00
         Other Assets
                                 118000 - DEPOSTTS                                                           $35,919.98
                                 1   191 OO   - PPD WC INSURANCE                                             $(2,479.90)
                                 1   19200 - PPD INSURANCE                                                   $18,560.71
         Total Other Assets                                                                                  $52,000.79
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       4t42PM                                        NORTH AMERICA 3PL, LLL
                                                       As   Of   6/30/2017 Grouped by Main G/L Account




   TOTAL ASSETS                                                                                   $23,658,036.98

   LIABILITIES & EQUITY

         Liabilities
                  Current Llabilities
                        Accounts Payable
                                    215OOO . ACCOUNTS PAYABLE                                             $174,s86.11
                        Total Accounts Payable                                                            $174,586.11
                        Other Current Liabilities
                                    1   15002 - oN   AccouNT                                                $1 0,994.1   1


                                    216100 - BofA CREDIT CARD x1470                                          $1,122.97
                                    216900 - ACCRUED EXPENSES                                                $6,729.15
                                    218OOO - WAGES PAYABLE                                                  $14,838.33
                                    218100 - ACCRUED PTO                                                    $34,619.58
                                    218200 - WITHHOLDING PAYABLE - FEDERAL                                   $4,843.23
                                    218300 - WITHHOLDING PAYABLE - STATE                                       $721.94
                                    218600. WITHHOLDING PAYABLE - OTHER                                        $241.7'l
                                    219630 . DUE TO BHD LLC                                               $303,289.00
                                    219635 - DUE TO BHD LP                                               $1,075,753.51
                                    219638 . DUE TO CS LP                                                  $12,000.00
                                    219650 - DUE TO NA3PL LP                                         $18,389,204.50
                                    219670 - DUE TO SFRC LLC                                             $2,545,980.00
                                    219671 - DUE TO SFRC (2)                                              $150,000.00
                                    219677 - DUE TO JLG                                                      $9,000.00
                                    219680 . DUE TO TESH                                                  $214,030.72
                                    22OOOO -   SUSPENSE ACCOUNT                                              $(250.00)
                        Total Other Current Liabilities                                              $22,773,118.75

                  Total Current Liabilities                                                          $22,947,704.86

         Total Llabilities                                                                           $22,947,704.86
         Equity
                                    291OOO - OPENING BALANCE EQUITY                                       $(57,740.00)
                                    294000 - oAPITAL                                                       $(6,108.00)
                                   295OOO     . RETAINED EARNINGS                                         $234,315.36
                                    INCOME                                                                $539,864.76
         Total Equity                                                                                     $710,332.12


  TOTAL LIABILITIES & EOUITY                                                                      $23,658,036.98
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  4:41PM                                             lncome Statement
                                                 From      610112017     thru   613012017




                                                     Selected Period               Fiscal Year to Date

lncome
    3050      FREIGHT CHARGES                   $1   1,s64.45      2.9%             $114,347.75                 4.9%
    31 00     DOCUMENTATION                     $39,205.60         9.9%             $230,620.40                 9.9%
    31 50     LOCAL FREIGHT / CARÏAGE           $97,931.36       24.ÙYo             $628,011.36                27.1o/o

    3250      COURIER     i   MESSENGER              $210.00       0.1%                  $1,020.00              0.0%
    3300      HANDLING                         $153,31 8.87      38.9%              $862,002.88                37.2%
    3350      MISC HANDLING                          $360.00       0j%                   $4,961.51              0.2%
    3370      FORKLIFT/MATERIAL HANDLING FI          $375.00       0.1%                   $625.00               0.0%
    3400      STORAGE                           $37,874.82         9.6./"           $158,953.12                 6.9%
    3500      FACILITY FEE                      $41,550.00        10.5./"           $243,300.00                 10.5%
    3550      REEFER FEE                         $4,275.00         1   .1"/"         $24,310.00                  1.0o/o

    3700      TERMINAL HANDLING CHARGES          $7,206.50         1.8%              $44,691.42                  1.9%
    3750      MISCELLANEOUS CHARGES                  $410.00       0.1%                  $5,607.00              0.2o/"

    3800      OTHER INCOME                             $0.00       0.0%                  $1,503.20              0j%
Totallncome                                   $394,281.60 100.0% $2,319,953.64                                100.0o/o

Cost Ol Operations
    4O5O      FREIGHT COSTS                      $8,667.00         2.2/"             $94,750.02                 4.1%
    4150      INLAND FREIGHT/CARTAGE COS]       $70,840.01        18.0"/"           $425,945.87                 18.4/o
    4250      COURIER / MESSENGER COSTS              $214.66       0.1'/"                $1,344.05               0j%
    43OO      HANDLING COST                            $0.70       0.0"/"                 $800.70                0.0"/o

    4350      MISC HANDLING COST                       $0.00       0.0%                   $785.24                0.0/"
    44OO      STORAGE COST                           $475.00       0.1%                   $750.00                0.0/o
    47OO      TERMINAL HANDLING COSTS            $6,936.00         't.8%             $38,343.00                  't.7%
    4750      MISC FREIGHT/HANDLING COSTS             $65.00       0.0%                  $2,650.00               0j%
Total Cost Of Operations                       $87,198.37 22.1o/o $565'368.88                                  24.4o/o


GROSS PROFIT                                  $307,083.23        77.9o/o        $1,754,584.76                  75.6/"
Expenses
    5000      WAGES-OFFICE-ALL                  $47,3s8.58        12.0%             $282,831.84                 12.2%
    5020      WAGES. WAREHOUSE STAFF            832,424.91         8.2/"            $1   93,237.1         I      8.3/o
    5025      WAGES - FACILITY OPERATIONS        $2,140.22         0.5%              $13,150.61                  0.6"/o

    5050      WAGES - PTO                        $7,534.76         1.9%              $40,051.82                  1.7%
    51 00     PAYROLL TAXES                      $6,555.73         1.7o/o            $46,825.74                  2.0/"
    5200      HEALTH INSURANCE                  $12,132.10         3.1%              $70,714.53                  3.0%
    5250      WORKERS' COMP INSURANCE            9s,232.20         0.8%              $30,506.91                  13%
    5500      SECURITY STAFFING                 $14,364.00         3.6%              $92,484.00                  4.0%
    551 0     TEMP STAFFING                      $4,128.99         1.0%                  $7,294.53               0.3%
    5600      PAYROLL PROCESSING FEES                $453.24       0.1%                  $6,291.00               0.3o/o

    5700      HR MISC EXPENSES                        $39.95       0.0o/o                  $927.34               0.0o/o

    6000      AMORT - LEASEHOLD IMPROVMEN        $8,407.97         2.1%              $50,447.82                  2.2%
    61 00     AMORT - SOFTWARE                   $1,083.33         03%                   $6,499.98               03%
    621 0     DEP - COMPUTERS & OTHER EQUI       $3,927.58         1.0%              $23,565.48                  1.0o/o

     6220     DEP. MATERIAL HANDLING EQUIP       $1,064.73         0.3%                  $6,388.38               0.3/"
    7000      WAREHOUSE LEASE                   $70,000.00        17.8%             $420,000.00                 18.1%
    71 00     WAREHOUSE R&M                     $10,406.48         2.6%              $17,002.95                  0.7"/o
    71 50     WAREHOUSE EXPENSES                 $1,488.61         0.4/o                 $4,01   1   .1   4      0.2o/o

    71 60     UTILITIES                          $6,938.52         1.8%              $30,322.76                  't3%
    7'170     TRASH                                  $641.02       0.2%                  $3,846.1 2              0.2/"
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  7125117                                       NORTH AMERICA 3PL, LLC                                Page: 2
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                                                From   610112017   thru   613012017




                                                Selected Period              Fiscal Year to Date
    7500       MATERIAL HNDG EQ LEASE/RENT      $5,730.48 1.5%     $29,596.45 1.3a/o
    7550       MATERIAL HNDG EQ R&M             $2,894.5s 0.7%      $9,353.07 0.4%
    7600       PALLETS                             $0.00 0.0y"      $2,622.00 0j%
    761 0      WHSE OPERATING SUPPLIES          $2,526.95 0.6./"    s6,660.68 0.3%
    7900       CLAIMS                              $0.00 0.0'/"     $3,1 17.29  0.1To

    8000       INSURANCE                        $2,787.66 0.7"/.   $16,291.35 0.7%
    81 00      OFFICE SUPPLIES                   $284.32 0.1"/"     $3,732.43 0.2%
    81 10      PAPER, FORMS, & LABELS              $o.oo 0.0%         $496.93 0.0%
    81 20      MISC OFFICE EXPENSES              $707.91  0.2"/"    $6,32s.98   O.3To

    81 30      JANITORIAL SUPPLIES               $480.91  0.1%      $1,209.30 0.1%
    8200       COMMUNICATION EXPENSES            $274.02  0j%       $1,456.57 0.1%
    821 0      INTERNET SERVICE EXPENSE         $2,035.73 0.5/o     99,702.82 0.40/o
    8220       WEBSITE EXPENSES                    $o.oo 0.0%            $8.17 0.00/o
    8300       IT SUPPORT & MAINTENANCE         $2,932.03 0.7./"   $20,090.98 0.9%
    8350       SOFTWARE MAINTENANCE/LICEN{      $3,532.95 o.9o/o   $25,782.24 1.1ok
    8400       SECURITY SYSTEM EXPENSES            $0.00 0.0/"      $1,674.00 0.1o/o
    8500       LICENSES & PERMITS                $552.76 0.10/o     $4,256.15 0.2yo
    8600       TRAVEL EXPENSES                   $639.39 0.2%       $3,651.73 0.2%
    861 0      MEALS & ENTERTAINMENT               $0.00 0.0%         $1 16.00  0.0%
    8620       ADVERTISING & PUBLICITY             $0.00 0.0%          $13.29 0.0%
    8650       MEMBERSHIP DUES                     $o.oo 0.0%         $529.00 0.0%
    8660       DONATIONS & CONTRIBUTIONS           $0.00 0.0"/.       $500.00 0.0To
    8800       LEGAL                            $2,735.29 0.7"/"   $43,238.35 1.9o/"
    881 0      ACCOUNTING                          $0.00 0.0%       $5,400.00 0.2Yo
    881 5      HR CONSULÏING                    $1,012.50 0.3%      $8,645.00 0.40/o
    8830       BANK ACCOUNT CHARGES               $87.68  0.0%       $(422.461 -0.0%
Total Expenses                               $263,542.05 66.8% $1,550,447.46 66.8olo

OPERATING PROFIT                             $43,541.18 11.0o/o $204,137.30 8.8/"
Other lncome
    115001     A/R DISCOUNT                       $0.00       O.O/"                   $0.00    0.0%

Total Other lncome                                $0.00       0.0T"               $0.00       0.0/"
Other Expenses


NET PROFTT(LOSS)                             $43,541.18 11.0o/o $204,137.30                   8.8/o

Other Expenses


PROFTT(LOSS) AFTER TAX                       $43,541.18 11.0o/o             $204,137.30       8.8%
